                                                                   Case 2:19-bk-24804-VZ             Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11                             Desc
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                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, California 90067
                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   E-mail: rpachulski@pszjlaw.com
                                                                                jdulberg@pszjlaw.com
                                                                   6            mpagay@pszjlaw.com

                                                                   7   Attorneys for Debtor and Debtor in Possession

                                                                   8                                   UNITED STATES BANKRUPTCY COURT

                                                                   9                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                              LOS ANGELES DIVISION

                                                                  11   In re:                                                        Case No.: 2:19-bk-24804-VZ
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   YUETING JIA,1
                                                                                                                                     Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                       Debtor.
                                           ATTORNEYS AT LAW




                                                                                                                                     REQUEST FOR JUDICIAL NOTICE
                                                                  14                                                                 OF YUETING JIA IN SUPPORT OF
                                                                                                                                     DEBTOR’S OPPOSITION TO DISMISS
                                                                  15                                                                 DEBTOR’S CHAPTER 11 CASE BY
                                                                                                                                     CREDITOR SHANGHAI LAN CAI ASSET
                                                                  16                                                                 MANAGEMENT CO., LTD.

                                                                  17                                                                 [Relates to Docket Nos. 358 and 359]

                                                                  18
                                                                                                                                     Date:      March 19, 2020
                                                                  19                                                                 Time:      9:30 a.m.
                                                                                                                                     Place:     United States Bankruptcy Court
                                                                  20                                                                            255 E. Temple Street
                                                                                                                                                Los Angeles, California 90012
                                                                  21                                                                 Courtroom: 1368
                                                                                                                                     Judge:     Hon. Vincent P. Zurzolo
                                                                  22

                                                                  23            Yueting Jia (the “Debtor”), by and through his attorneys, requests the Court to take judicial
                                                                  24   notice, pursuant to Federal Rules of Evidence, Rule 201, of the following exhibits in support of the
                                                                  25   Debtor’s Opposition to Motion by Creditor Shanghai Lan Cai Asset Management Co., Ltd. To
                                                                  26   Dismiss Debtor’s Chapter 11 Case, filed March 3, 2020. Exhibits “1” and “2” are Domestic Public
                                                                  27

                                                                  28   1
                                                                         The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
                                                                       Marguerite Drive, Rancho Palos Verdes, CA 90275.

                                                                       DOCS_DE:227646.1 46353/002
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                                                                   1   Documents that are Sealed and Signed and, accordingly are self-authenticating pursuant to Federal

                                                                   2   Rule of Evidence 902(1) and thus proper for judicial notice per Federal Rules of Evidence, Rule 201.

                                                                   3   Exhibits 3 and 4 are official public judicial record of the U.S. Bankruptcy Court for the Central

                                                                   4   District of California and thus proper for judicial notice per Federal Rules of Evidence, Rule 201.

                                                                   5   Further, this public record, a filing of the federal bankruptcy court, is self-authenticating. FRE

                                                                   6   901(b)(7), 1005.

                                                                   7
                                                                          EXHIBIT                                            DESCRIPTION
                                                                   8                          Certified Copy of Certificate of Formation of Pacific Technology Holding
                                                                   9            1             LLC
                                                                                              Certified Copy of Certificate of Formation of West Coast LLC
                                                                  10
                                                                                2
                                                                  11                          Relevant page of Schedules and Statement of Financial Affairs of Yueting Jia
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                3             filed in the United States Bankruptcy Court for the Central District of
                                                                  12                          California Case No. 19-bk-24804-VZ at Docket No. 28
                                                                                              Proof of Claim No. 51 filed by Shanghai Lan Cai Asset Management Co., Ltd.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                4
                                                                  14
                                                                       Dated: March 3, 2020                           PACHULSKI STANG ZIEHL & JONES LLP
                                                                  15

                                                                  16                                                  By    /s/ Malhar S. Pagay
                                                                                                                            Richard M. Pachulski
                                                                  17                                                        Jeffrey W. Dulberg
                                                                                                                            Malhar S. Pagay
                                                                  18
                                                                                                                            Attorneys for Debtor and Debtor in
                                                                  19                                                        Possession

                                                                  20

                                                                  21

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                                                                       DOCS_DE:227646.1 46353/002                    2
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                                                           The First State



                 I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

        DELATs~ARE, DO HEREBY CERTIFY ~'1~ A~'2'~1CHEIJ .~S A TRUE AND CORRECT

         COPY OF THE CERTIFICATE OF FORMATION OF "PACIFIC TECHNOLOGY

         HOLDING .LLC", FILED IN THIS OFFICE ON THE TWENTY—SIXTH DAY OF

         JULY, A.D. 2018, AT 3:07 O'CLOCI{ P.M.




                                                                                  dR#   Y 4'!. 63sYot3k,'S3~x~Sc3:Yry of 3t8;e




     6979576 8100                                                                  Authentication: 202484173
     SR# 20201721364                                                                           Date: 02-28-20

     You may verify this certificate online at corp.delaware.gov/authver.shtml
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                                                                                   State ei IIelau•arc
                                                                                   3ecretarr oP State
                                                                               Di~~fstan of Coi~poratioa~
                                                                             Dellvea~d Q3:o7 psi o7~16~1018
                                CERTIFICATE Q~'Ft~RM~TIClN                    FIt,ED 03:Q7 P,'t107f26~201R
                                                                         3R ~018~&6255 - ~`i1.eNumber 69?9576
                                                OF

                            PACIFIC TECI-~NOLOGY HULDiNG LLC


         This Certificate of Foni~ation ofPacific Technolog}~ I-loldi~~g LLC (the "Com~an~")>
 dated 3i~ly 26,2018,is being duly executed and filed by Miao Zhang,as an authorized natival
 person,fox the purpose offorming a lis~~ited Iiabsiity company under t ie prt~visions a~~d subject
 to the r~q~tireinents ofthe Delaware Limited Liability Company Act(6 Del. C.§18-101, et. sey.j.

        FIRST,the Warne of the limited liability company formed hereby is Pacific Te~hnc~logy
 Hoidi~~g LLC.

       SECCOND,the name and address of~l~e registered agent far service of process on the
 Company in tine State ofDelawa~~e is The Corporation Trust Ca~npa~~, Corporation Tn~st Center,
 1209 grange Street, New Castle County, Wilmington,Delaware 19801.


                     [REMAINDER f~F PAGE IItiTTEI~:TI41~tALLY LEFT BLAI~IK]




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        IN WITNESS WHEREOF,the u~idersigned has executed this Certificate ofFormation as
 ofthe date first above writte~~ and submits it for filing in accordance with Section 1$-201 ofthe
 Delaware Limited Liability Company Act.


                                        /sI Miao Zhan~~~
                                        Micro Zhang
                                        Authorized Person




                        [Certificate of. Formation ---Pacific Technology Holding LLC]
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                                                           The First state



                 z, ~~,~~ w. svzzocrc,                     S'ECRETAR3.' OF S~`~!   ~~ z~.r~ ~sx,~~ c~~

         DELAT9ARE, DO HEREBY CERTIFY THE ATTACHED ZS A TRUE AND CORRECT

         COPY OF THE CERTIFICATE OF FORMATION OF "WEST COAST LLC", FILED

         IN THIS OFFICE ON TI3E TWENTY—THIRD DAY OF JULY, A.D. 2019, AT

         4:56 O'CLOCK P.M.




                                                                                                       '"                 ~'
                                                                                        J¢ftrry lY, ~a>sK►< $rrrr::e+y of Sttsa




     7527832 8100                                 ~:~~;'~~;~~~                           Authentication: 202484185
     SR# 20201721437                                '~~~~"~l~                                        Date: 02-28-20

     You may verify this certificate online at corp.delaware.gov/authver.shtml
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                                                                                     State of Detah~ar~
                                                                                    Srtretary of State
                                                                                 Dl~~ision of Corporations
                                                                               Deltvered 04.56 Pif ~7/~3I2~49
                                  CERTI.FIC~I'I'E OF FOI2111ATION
                                                                                FILED O~t:Sb Phi 0712,3!2019
                                                 OF                        SR 2G1961i5988 - Fi~eNumbe~• 7527831
                                        W~:sT CoasT LLC


         1.      The name of tine limited liability canipany is ~hrest Caast LLC.

         2.      Tie address of its registered office in the State of Delaware is 1209 Orange Street,
                 Vt~it~nington, Delaware 19~(Tl. The name of its registered agent at suc[~ address is
                 Tlie Corporation Trust Company.

         IN WITl~TE~S WHEREOF,the undersigned leas executed this Certificate ofFormation
 nn this 23rd day of July,2019.


                                               !slLion B~~rsert
                                               Lion Bossert
                                               Authorized Peron




  OMM US:77095993.1
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                                            1~
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Debtor 1        YuetincLJia                  _                                                     Case number (iranown~ ~g_12220(KBO}

*Based on share price prior to cessation of trading on April 26, 2019

                                         West Coast LLC (6.16% of Smart King Ltd)~~                       1U0 _ %               ~ $862,241 X246.673


                                         Pacific Technology Wolding (10% holdings of                    Per
                                         Smart Kind Ltd)                                             agreement %                    $320,000,00O.00a


                                         LeLe Holdings Ltd.                 _~__                         _100     __ %              _~         Unknown


                                         Ford Field International Limited                                 100        %                         Unknown


                                         _Charn Alliance Holdings Limited .__                      _ 100             %                         Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
     Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
     Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
  (yJ No
   (_~.j Yas. Give specific information about them
                                    Issuer name:

21, Retirement ar pension accounts
     Examples: Interests in IF2A, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   n No
   ~]Yes. List each account separately.
                                Type of account:                 Institution name:

22. Security deposits and prepayments
     Your share of ail unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
   ~_ f No
   ~]Yes. .....................                                 Institution name or individual:

                                      Pre-paid rent:           Ocean View Drive Inc.                                                       $2,102,905.40
                                      7 Marguerite Drive,
                                      Rancho Palos Verdes, CA
                                      90275;
                                      11 Marguerite Drive,
                                      Rancho Palos Verdes, CA
                                      90275;
                                      15 Marguerite Drive,
                                      Rancho Palos Verdes, CA
                                      90275;
                                      19 Marguerite Drive,
                                      Rancho Palos Verdes, CA
                                      90275;
                                      and 81 Marguerite Drive,
                                      Rancho Palos Verdes, CA ____     ~       .~


23. Annuities(A contract far a periodic payment of money to you, either for life or for a number of years)
   ~f No
   ~.~ Yes............. Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.G. §§ 530(b)(1), 529A(b), and 629(b)(1).
  (~I~ No
   ~~. Yes.............   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
                                                                                                              Industry
36ased on valuation of Smart King Ltd, after December 21, 2018 Restructuring Agreement with Evergrande Health
       Group.
^Based on valuation of Smart King Ltd. after Decemher 21, 2098 Restructuring Agreement with Evergrande Health Industry
       Group.
                                                                      Schedule AIB: Property                                                          page 6
Official Form 106A/B
                                                                                                                                           Besl Case Bankruptcy
Software Copyright (c) 1 J96-2019 Bosl Case, LLC - www.boslcase.com
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                                                                                                                                                                 California ~~1
                                                                                                                                Filed: USBC -Central Qistrict of
                                                                                                                                  ueting Jia (810)


                                                                                                                                                       ll1~ll l l ~
                                                                                                                                Y
                                                                                                                           '~   19-24804 (VPZ)                 ~ ~~~~~~ ~t~ ~ ~~~ ~(


        Debtor 1             Yueting Jia
                                                                                                                                    Y~1                           4aooQaoos~
        Debtor 2                                                                                                            ~                            ■
        (SpousO, if Tiling


        United States Bankn,ptcy Court for ihe; Central District D(Cali(ofnia
                                                                                                                                    ~~~~~~~~
        Case number ~~19-bk-24804-VZ
                                                                                                                                        JAN 2 4; 2020
      Official Form 410
                                                                                                                                  ~f~AL SERVICES
      Proof of Claim                                                                                                                                                         04119

      Read the Instructions before filling out this form. This form is for making a Claim for payment in a bankruptcy case. Do not use this form to
      ~.;~4n w roy~~~egf fnr n
                             r ,~~mAn} of an a(,Imin~cfl?tIVA PY~P_nCR; MakR Sl1EF1 7 tP.f~111A4~ aC~A►fSI~1d ~~ '~'I U,S,C, S r
                                                                                                                               Jfl3,

      Filers must leave out or redact information that is entitled to privacy an this form or on any attached documents. Attach redacted copies of any
      documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
      mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning, if the documents are not available,
      explain in an attachment.
      A person who fifes a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
      Fill In all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 369) that you received.



                      Identify thQ Claim

      7 , Who is the current               ghanghai i.an Ca'r Asset Management Co, Ltd.
          crvditor?
                                           Name of the current creditor (the person or entity to be paid for this claim)
                                           Other names the creditor used with the debtor

      2, Has this claim been               ~ No
         acquired from
         someone etse~                     ❑Yes. From whom?

      3. Where should notices              Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
         and payments to the                                                                                           ditierent}
          creditor be sent?
                                           KObre &Kim LLP
         Fedetll Rule Of                   Name                                                                        Name
         Bankruptcy Procedure
         (FRBP)2002(8)                     800 Third Avenue
                                           Number    Street                                                            Number          Street
                                           New York                            NY              10022
                                           City                               State                   ZIP Code                                  City                           Stake

                                           Contact phone *~ 2~ 2 488 1200                                              Contact phone

                                           Contact email daniel.saval@kobrekim.com                                     Contact email



                                           U niform Cairn identifier for electronic payments in chapter 13 (If you use one):




      4. Does this claim amend             ~ No
         one alydady filed?                Q Yes, Claim number on court claims registry (if known)                                                Filed on
                                                                                                                                                             MM !DD     !YYYY



      5. Do you know if anyone             ~ No
         else has flied a proof            Q Yes. Who made the earlier filing?
         of claim (or this claim




         ONcial Form 4i0                                                              Proof of Claim                                                                page 1
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            Give Information About 4he Claim as of the Date the Case Was Filed

6. bo you have any number ~ No
   you use to Identify the ❑Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:                                  _
   debt9t?



7. How much is the cfaim7            $                    12,711,9$3.9$ .Does this amount inGude interest or other charges?
                                                                                 ❑ No
                                                                                 Q~ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                         charges required by Bankruptcy Rule 3001{c)(2){A),


8. What Is the basis of the        Examples: Goods sold, money loaned,(ease, services pertormed, personal injury or wrongtul death, or credit card,
   claims
                                   Attach redacted copies of anY documents su pp prtin9 the claim reQwired bY Bankru ptcY F7ule 3001(1
                                                                                                                                     c.

                                   Limit disciosing information that is entitled to privacy, such as health care information.

                                   Judgment in Shanghai Lan Cai Asset Management Co, Lid. v. Jia Yueting (i8-10255 (C.D. Cal.) recognizing erbitral award In
                                   respect of Jfa's personas guarantee on loan extended by creQitor to LeN. Relevant documents attached as exhibits.

9. Is all or part of the claim         No
   secured?                            Yes. The claim is secured by a lien on property.
                                              Nature of property:
                                               Real estate. If the claim is secured py the debtor's principal residence, file a Mo~igage Proof of Clalm
                                                            Attachment (Official Form 410-A) with this Proof of Clarm.
                                             O Motor vehic~e
                                             0 ether. Describe:

                                                                           The service of the order of the debtor's examinat(on pursuant to CaE. Civ. P.
                                              Basis for pertection:        r c Ana +~qtd)
                                              Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                              example, a mortgage. lien, certificate of title, financing statement, or other document that shows the lien has
                                              been filed or recorded,)


                                              Value of property:                              g         UnknO~~rn

                                              Amount of the claim that is secured:           $     12,717,983.98

                                              Amount of the claim that is unsecured; ~                           fl•~~ {7he sum of the secured and unsecured
                                                                                                                       amounts should match the amount in line 7.)


                                                                                                                                  $         12,711,983.98
                                              Amount necessary to cure any default as of the date of the petition:


                                              Annual Intorest Ratp(when Case was filed) 2 41 9'0
                                                Fixed
                                              0 Variable


 10. Is this claim basod on a      ~ Np
     lease?
                                    ❑ Yes. Amount necessary to cure any default as of the date of the petition.                   $


 1 1. is this claim subJect to a   ~ No
      right of setoft~
                                    ❑ Yes. Identify the property:




  O~ciat Form a10                                                        Proof of Claim                                                               page 2
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    12. is all or part of the cla€m    pu No
        entitled to priority undar
        11 U.S.C. § 507ja)?            ~ Yes. Check one:                                                                                               Amoun!entitled to prlorfty

       A claim may be partly              0 Domestic support obligations (including alimony and child support) under
       prioriay and partly                  11 U.S.G. § 507(a)(1)(A) or {a)(1)(6).                                                                    §
       nonpriorily. For example,
       in some categories, the                ❑ Up to $3,025' of deposits toward purchase, lease, or rental o{ property or services for
       law limits the amount                    personal, family, or household use. 11 U,S,C. § 507(a)(7),                                            $
       entitled to priority.
                                              ❑ Wages, salaries, or commissions (up to $13,650') earned within 184 days 6etore the
                                                bankruptcy petition is filed or the debtor's business ends, whichever is earlier,                     ~
                                                1 1 U.S,C, g 5o7(a)(4).
                                              ❑ Taxes or penalties owed to governmental units, 11 U.S.C. § 507(a)(8).                                 $

                                          0 Contributions to an employee benefit plan, 11 U.S.C. § 507(ay(5).                                         ~

                                              n flthcr Cr~erifi~ gvihcerfipn ni 11 I 1 R C: S SQ7~21f~1 fl~2t annli@g.                               ~ $


1                                        'Amounts are subject to adjustment on A/01122 and every 3 years e(ter fhal for cases begun on or after the date of Adjustment.




                 Sign B~IOW

     The person completing            Check the appropriate box:
     this proof of claim must
     sign and date it.                0 I am the creditor.
     FRBP 9011(b).                    l~ !am the creditor's attorney or authorized agent.
     if you file this claim           D I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
     electronically, FRBP             CI I am a guarantor, surety, endorser, or other codebior, Bankruptcy Rule 3005.
    5005(a)(2) authorizes courts
     to establish local rules
     specifying what a signature
                                 I understand that an authorized signature an this Proof of Claim serves as an acknowledgment that when Calculating the
     is.
                                 amount of the Claim, the creditor gave the debtor Credit for any payments received toward the debt.
     A person who files a
    (rauduie~t claim could be i have examined the information in this Proof of Claim and have a reasonable belief that the Information is true
     fined up to $b00,00U,       and correct.
     imprisoned for up to 5
      years, or both.            I declare under penalty of perjury that khe foregoing is true and correct.
     18 U.S.C.§§ 152, 157, and
     3571.
                                 Executed on date 01/21/2020
                                                              A6M ! OD ( YYYY




                                         /s/ Dor~g Ni Donna) Xu
                                              Signature

                                       Print the namo of tho person who is completing and signing this claim:

                                                             d011g (Dof1t12)                       Ni                                  Xu
                                       Name
                                                             First name                           MiBdle name                           Lasi name

                                       True                  Associate Attorney

                                       Company                KobrB &Kim LLP
                                                             Identify the corporate servicer as the company ii the authorized agent is a servicer.


                                       Address               800 Third Avenue
                                                              Number           Street
                                                              NQw York                                                    NY               10022
                                                             City                                                         State         ZIP Code

                                       contact phone          +1 646 453 1147                                             Email         donna.xu Ca~kobrekim.com




      C7fficial Form 410                                                        Proof of Claim                                                                  page 3
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                  Exhibit 1-~ Itemized List of
                        Claim..Amount
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              The items included in Shanghai Lan Cai Asset Managei~nent Co., Ltd.'s claim of$ 12,711,983.98
              are as fallow:
              $ 12,414,379.10 Principal,
              $ 297,b04,88    Interest.
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            Exhibit 2 -- Repurchase
             Gugrantee A regiment
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               ~~= ~~C.~




              ~~:
              1, ~j ~'~, ~1 LBfiV SPORTS CULTURE DEVELOP (HONG 4{~NG) Co.

        Limi~ed~-~~~F~J~C.~~. (~~C.~ ~(~L~~i~~))), .~.C~J7~ ~~~'~'

       201.6 ~-   12 ~ 1 Q ~iT~~ a~J XYJK-2016043-0l—JKHT ~j ((~




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           '~~t~~~o


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              '
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               2, ~X~~~i}~~: ~j7~'~1VEiA Hong Kong Operataans Limited

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                                                                         meat No. XYJK-201 G003-{15-hiGbB



                               Repurc~~ase Guara~~tee Agreement


                                                                           Contract signed in: Beijing

  Party A:   Shanghai Lancai Asset Management Co,, Ltd.

  Harty B;   Warty B-1: LeTV Holdings (Beijing) Co., I~td.
             Pzrty E3-2: Jia Yueting
  Party C:   LeTV Sports Culture Develop {Beijing) Co., Limited


   W f1CREAS:
        1. Party C has taken over the Usufruct (as defined in the Usufruct Certificate) from I~ETV
   SI~O.RTS CULTURE DEVELOP(HONG KONG)Co. ~,imited and eiztered into the Loan Contract
   dated December 1, 2016 (No. XYJK-2016003-01-JKH7') (including its annex "Cooperation
   Agreement on Entrusted Management and .Financing Cervices"), and Party C has reassigned the
   UsufrucC to Party A and set up a custody arrangement Tor Party A to provide ashort-term liquidity
   loan to Party C;
        2. Party B-1 agrees and undertakes to assume irrevocable joint and several guarantee liability
   and repurchase obligations far the aforesaid loan provided to Party C by Party A; Party B-2 agrees
   and undertakes to assume in his personal capacity the unlimited joint and several liabil'sty for Party
   B-1's foregoing obligations;
        3. Party A agrees to provide the liquidity loan to Party C conditional upon that Party B
  (including Party B-1 and Party B-2, similarly hereinafter) sha11 agree and undertake to fulfill the
   repurchase and provide guarantee for Party C;
        4. In order to ensure repayment by Party C for the loan granted by Party A as agreed in the
   Loan Contract between Party A and Party C, Pai•ty B agrees to provide an irrevocable joint and
   several guarantee in favor of Party A for Party C's obligations under the Loan Contract (including
   but noY limited those arissng from Party C's non-performance or non-compliance with the .Loan
   Contract),




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                                                                        Agreement No. XYJK-201GOQ3-OS-HGDB



        NQW [T IS HEREBY AGREED as follows through negotiation ort the fair, willing at~d
   arm's-length basis in accordance with the Contract Law of the People's Republic of China and
   relevant laws and regulations:


        I. Definitions
        1. "Repurchase": When Party A upon satisfaction of all conditions agreed herein issues a
   written Repurchase Netice to Party B, Party B shall, r-vithin len clays fi~ott~ tl~~ date of ~'eceiving such
   notice from Party A demanding the repurchase of the Usufruct, pay the Repurchase Money to Party
   ~ as ag~~eu t~ fu~~~~ its r~~,urchuse :,~~iga~i~~~.
         2. "Usufruct and Distribution Right": Under an agreement, Party C has been licensed by NBA
   Hong Kong Operations Limited for broadcasting NBA regular seasons (average 2 games per day),
   all playoffs and finals, all All-Star weekend events, pre-seasons (up to i 4 games per season) and
   related ~VR and AR programs (at least one event per season shall be produced by LeTV Sports with
   the official assistance of the NBA} in 2016/17 - 2020!2] through its OTT service; PC and mobile
   platforms within .Hong Kong and Macao (cornmerciat, residentia! and individual users allowed in
   Hong Kong; only residential and individual users allowed in Macao). During the first three years in
   the term of the agreement, the NBA reserves the right to authorize a free third-party platform to
   broadcast one NBA game each week (excluding All-Star games, division finals and finals} which
   may be made available an demand, provided that the gam€ shall be the second-level selected event
   in the week.
          The original value of the aforesaid royalties llS$112,OQ0,000.00 shall be amortized over 57
    months commencing from October 2016 Ca June 2021. Details of the amortization as at October
    31, 2016 are as Follows:


      Original value       Amortization     Monthly amortization        Accumulated
                                                                                             Net value(US$)
        (US$}             period (month)          (US$)              amortization(US$)
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           3. "Repurchase Money": All outstanding loan owed by Party C, outstanding principal,
    interest, penalty interest, overdue interest, compound interest and default fine payable by Party C
    under the Loan Contract, and other casts incurred by Party A for liquidation of its ereditar's rights
   (including but not limited to attorney fees, caur~t costs and travel expenses); and inFringement ar
     loss of ownership or value of goods.


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                                                                      Agreement No, XYJK-2016003-OS-HGDB



         II.   Natare, Term ar~d Scope of Guarantee
               Nature of Guarantee
          {1) Party 6 shall provide ajoint and several guarantee, pursuant to which Party A has the
   right to directly demand Party B fulfEling the guarantee kiability as and when Party C fails to
   settle the whole or any part of its debts under the Loan Contract.
        (2) ]n the case of other guarantors providing guarantee for the loan under the Loan
   Contract, all guarantors shall become liable for C11e joint and several guara~Ytee.
         (3) In the case of other guarantees provided for the loan under the Loan Contract, Party B
   shall fulfill its guarantee obligations as Party A :nay demand, and shat! not lodge a plea against the
   creditor's rights on the grounds that there are other guarantees available.
         (4) Where, after all or any pant of the loan is repaid by Party C, the repayt~tent is
   invalidated in whole or in part according to law or by a judgment or arbitration in force in
   connection with the liquidation of Party C due to bankruptcy ar any other litigation or arbitration,
   Party B shall sti11 fulfill the guarantee obligations for the whose or such part of the amount
   payable.
          2.   Term of Guarantee
        ('1) The loan to be granted to Party C under• the Loan Contract shall have a term of 12
   months, subject to the provisions in the Loan Contract with respect to the start and end dates.
         (2) The term of guarantee shall be two years, commencing from the maturity date of the
   gua~•anteed loan.
         3. Party B shall be liable for the guarantee to indemnify agaiT~st any losses incurred by
   Party A arising from Party C's failure to perform its obligations as stipulated in the Loan
   Contract, including:
         (1} any principal or interest that E'arty C fails to settle on time or in full as agreed in the
   Loan Cont~~act, and any penalty interest, insurance prernium, security deposit, indemnity and
   other expenses payable by Party C;
         (2) any damage in ownership or value the Usufruct and Distribution Riglit; and
         (3) al{ expenses incurred by Aarty A to exercise the aforesaid right, including but not
   limited to attorney fees, eotirt costs and travel expenses.




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                                                                                     Agreement No. XYJK-2016003-OS-HGDB



          III. Repurchase Method

        1,    When the repurchase conditions are established, Party A will issue a written
  Repurchase Notice to Party B. Party B shall pay the full Repurchase Money in a lump sum Co
  Party A within ten days from the date of issuance of the Repurchase Notice,
          2.      Redemption Conditions:

         Subject to the provisions of the .Doan Agreement, any maturity matter for the loan (including
   normal matur'sty and acceleration of maturity) as specified Cherein is established, including but not
   limited to: a delay of Party C in repayment of any inte~•est or principal that results in a failure of
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  remains default in whole or in part after a penalty interest is paid by Party C to Party A as agreed;
  and any event that Party C may be declared bankrupt, dissaived or liquidated according to law. Any
  of the aforesaid everts shall give effect to the repurchase conditions, the establishment of wi~ich is
  irrespective of tl~e status of the Usufruct and Distribution Right {including but not limited to any loss
  or damage thereof,
        3.     Upon fulfillment of the repurchase obligations of Party B, Party A shall transfer the
  rights and interests under the Usufruct and Distribution Right (including the ownership) to Party B-1.
  The parties expressly agree that in view of the fact that Party A is unable to effectively monitor the
  Usufruct and Distribution Right which are under actual possession and contra! by ParCy C, Aarty A
  stall only deliver the Usufruct and Distribution Right in the farEn of the Notice of Claiin Transfer in
  connection therewith together with assistance to Party B in effecting the transfer procedures, instead
  of a physical delivery, to Party B. Party A shall assist Party B in effecting all procedures for the
  repurchase of the Usufruct and Distribution Right as agreed hereunder, and all taxes and fees arising
  from the transfer of Che Usufruct shall be borne by Party A. Upan cornpletiort of the procedures, the
   Usufruct Certificate held by Party A shall become void "accordingly.
         4.     Upon fulfillment of the repurchase obligations of Patty B, Party A shall not restrict or
   i mpede I'arly B and Party C howsoever from exercising the Usufruct and Distribution Right, or
   otherwise shall indemnify Party B and C against any resultant financial loss.




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       IV.    Rights and Obligations of the Parties
       1.     When the conditions provided herein are satisfied, Party A shall issue a written
  Repurchase Notice to Party B in time;
         2.     ParCy A shall, within 5 business days after receiving Repurchase Money in full from
  .Party B, deliver to Party B the Notice of Claim Transfer in connection with the Usufruct and
   Distribution Rigltt, and assist Party B in effecting the transfer procedures;
        3.     Duriry~ the ter~ti of guarantee, Party A has the right to supervise Farty B's funding and
  property status, for which Party B has the obligation to provide assistance as necessary;
        4.      In case of a delay of~ Party C; in repayment that results in a failure of Party A in
  recovering from'Party C the loan in time upon its maturity, Party A has the right to impose a penalty
  interest on Party C, and Party C shall remain liable far repayment or otherwise Party B shall fulfill
  the repurchase obligations hereunder;
        5.     Upon establishment of the repurchase conditions; Party B shall fulfill its guarantee
  obligations for paying Party n the REpurchase Money iii order to repurchase the Usufruct and
  Distribution Right;
         6.    Party B is responsible for the truthfulness and completeness of the information
  provided by Party C and the authenticity of the Usufruct and Distribution Right, and shall be liable
  for all damages incarred by Party A in connection therewith;
        7.      Party B shall procure Party C to pay interest and principal to Party A as agreed in the
  Loan Contract and assist in the collection thereof. In case of a breach of contract by Party C,Party B
  shall fulfill the repurchase guarantee liability in the first instance to effect the repurchase
  u nconditionally;




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                                                                                    Agreement No. XYJK-2016003.05-I-IGDB


       $.      During the validity period hereof, Party $shall issue a written notice to Party A
  promptly in any offollowing circumstances:
         (1} Party. B sells, donates, leases, lends, transfers or otherwise disposes of its major assets;
          {2) Party B's financial position has seriously deteriorated or has an outstanding amount of
              any usury or becomes'involved in any material litigation, arbitration, criminal ar other
              legal dispute;
         (3) Party B'S major assets are threate►~ed to be seiGeci, attached, fi•azec~ at' enforced, oe
             become a subject to property preservation or enforcement measures such as seizure or
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          (4) Party }3 may be declared bankrupt;.dissolved or liquidated according to law;
           (S) Party B has a bad credit record in the credit database maintained or approved by the
               People's Bank of China ("PB4C"}, China Banking Regulatory Commission {"CBRC")
               or China Banking Association; or
           (6) Other circumstances that nay Lead to an impairment of its solvency or a potential loss
               of its guarantee capacity.
        9.    Party D undertakes to notify Party A in writing within 3 days of any change in its
   correspondence as~d contact address. If Party .S fails to provide an accurate address for service or the
   changed address in tithe, causing a failure of service in time or at all, Party B shall bear the legal
   consequences arising therefrom.


        VI.     Confidentiality
        Each party hereto shall have the obligations to keep confidential any business information of
   the other party that is accessible or known dur'sng the performance of this Agreement, unless there is
   obvious evidence that such information has already been in the public domain or a prior
   authorization in writi»g has been obtained from the other party. Such confidentiality obligations
   shall survive the terminatiion of this Agreement. A party causing; losses to tf~e other party due to its
   breach of such obligations shat) indemnify fihe other party against such losses.




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       VII.   Liability for Breach of Contract
        In the event that .Aa~•ty B fails to fulfill the repurchase obligations hereunder, pay the
  Repurchase Money or violate other obligations hereunder, Aarty B steal! pay a default fine to Party A
  as calculated as 0.05% of the overdue amount on a daily basis and, in case of a resultant financial
  loss of Party A which cannot be covered by the default fine, shall indemnify Party A against its
  actual fsnanciat losses including creditot~'s rights, interest, default fine, indemnity and reasonable
  expenses for liquidation of creditor's rights (including notarization, appraisal, assessment, auction,
  litigation or arbitration, service, property preservation, enforcement, attorney Fees, travel expenses,
  and other reasonable costs).


       VI.IL Special Statement
        1.     Party I3 is aware of the background of the cooperation between Party A and Party C,
   and confirms that it has full knowledge of Party C's information including assets, debts and credit
   standing, and whether it has the capacity and authority to enter into the Loan Contract.
        2.     Party B has full knowledge of the Loan Contract and its annex, and has obtained the
   written approvals of the board of directors and shareholders' meeting of Pai-~y B when entering into
   this Agreement,


        IX.    Change of Agreement
         1.      None of Party A, Party Q and .Party C may alter or terminate this A~i•eement
  utlilaterally during; the validifiy term hereof. A change hereof is conditional upon a written agreement
  through negotiation among the parties hereto.
         2.     if ParCy A and Party C agree to change the terms of the [..oan Contract {including the
  amount of the 'Usufruct and Distribution Right, repayment method, repayment plan,,start or end dates
  of loan repayment) during the validity term hereof without increasing Party C's debt, Farty B agrees
  to continue to assume the joint and several guarantee liability for the loan, principal, interest,
  overdue interest and default fine payable 6y Party C under the changed Loan Contract by means of
  tine repurchase. If ]'arty A and Party C agree to change the Loan Contract which increases Party C's
  debt, Party 13 shall only assume the joint and several guarantee liability for the debt under the Loan
  Contract before the change unless otherwise agreed.
        3.     Notwithstanding the foregoing, Party B shall continue fa assu~~ne the guarantee liability
  hereunder if the .Loan Contract is changed during the validity term hereof due to the adjustments or
  changes of national laws and regu)ations and relevant rules of CBRC, i'130C and other authorities,
  including interest rate adjustment.
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        X.     Termination
        This Agreement may be terminated as and when;
       1.     Within the maturity of the loan and upon consent of I'arEy A, Party C makes an early
  repayment and terminates the moan Contract;
        2.      Party .B has fulfilled its repurchase undertaking; or
        3.     Upon maturity of the loan, Party C has paid off all of the due amount without a breach
  of contract.


        XL      Miscellaneous
         1,     This Agreement shall came into force upon signatures and seals by Party A, Party B and
   Party C.
        2.     This Agreement is made in octuplicate, each party holding two counterparCs which shall
   have the same legal force,
        3.       Any dispute arising feo~n or in connection with this Agreement shall be settled through
   negotiation by the parties hereto, failing ,which, shall be submitted to Beijing Arbitration
   Commission for arbitration in accordance with the prevailing rules of arbitration of such eo►nrnission.
   The arbikration award shalk be final, binding upon each party.
         4.      All notices, correspondences, instruments (including judicial or arbitration documents}
   and materials dispatched to or provided by a party to the other party during the performance of this
   Agreement shall be served to the correspondence, facsimile and e-mail addresses specified herein. A
   party intending to change its address, telepho~7e number or designated contact person shall notify the
   o ther parties in writing within 5 days from the date of change, failing which, the party mailing
   relevant materials oi• dispatching relevant information according to the original addresses and
   designated contact person shall be deemed to have fulfilled the obligation of service. Time of service
   for any of the aforesaid materials shall be the time of delivery if by hand, or the date of mailing,
   sending or posting if by mail, text message or e-mail.




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                                                                      Agreement Na. XYJK-2D 16003-OS-HGDB


  Annexes:
   1.   Loan Contract(No. XYJK-20160Q3-Ol-JKHT};
  2.    Repurchase Notice.


                (The page below is for seal and signature and contains no text of main body)


  Party A:        Shanghai Lancai Asset Management Co., Ltd.{corporate seal)
                 [seal:] Corporate seal of Shanghai Lancai Asset Management Co., Ltd.
                  Legal representativeJautltorized representative {signature or seal)
                 [sea1:J Personal seal of Huang The


   Party B-1:     LeTV Holdings (}3eijing) Co., I.,td. (corporate seal}
                  [seal:] Corporate seal of.LeTV Holdings (Beijing) Co., Ltd.
                  Leal representative/aut6iorized representative {signature or seal)
                  [seal:] Personal seal of Jia Yueting


   Party B-2:     [si nature (signature by hand)
                 (:lia Yueting)


   Party C:       [.eTV Sports Culture .Develop (Beijing) Co., Limited (corporate seal)
                  [seal:] Corporate seal of LeTV Sports Culture Develop (Beijing) Co., LimitEd

                  .Legal representative/authorized representative (signature ar seai)
                  [seal:] Personal seal of Gao ~'ei


   Date: December 1, 2016




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          Exhibit 3 —Loan ~ontra~t
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                                       Contract No.: XYJK-201 b003-0'1-JKH1'

                                                December 1, 2016




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                                           Loan Contract


                                                             Contract No.: XYJIC-2016003-Ol-JKHT

    Borrower {Party A): Le~l'V Sports Culture Devefop (Beijing) Co., Ltd.

    Custodian of Assets/Lending Agent(Party B): Shanghai Lancai Assets MaE~agement Co,, Ltd.


    ~dtiL~•ra~:

        Party A intends to raise funds by borrowing throagh Lancai.cn (domair3 name:
        www.I.ancai.cn, hereinafter as "Lancai.cn"), the Internet finance information servsce
        ~latfai•rn operated by Beijing Lancai Information Technology Co., Ltd. ("Lancai
        Technology").

    2. Tarty B agrees to execute the No. XYTK-2016003-02-WTGL Custody and financing
        Cooperation Agreement(as attached hereto in Annex 1) with Party A and Lancai Technology,
        and agrees to enter into the discretionary custody arrangement with Party A thereunder in
        connection with certain benefit rights (hereinafter as the "Undeelying Interests") and for
        Lancai Technology to provide the loan to Party A based on such custody arrangeme►it. .f'arty
        B, as the custodian of assets, will perform such functions as repayment as an agent and
        management of creditor's rights and provide the debt repayment guarantee service as
        provided in the Custody and Financing Cooperation Agreement,

    3. To facilitate the debt investment by the users of Lancai,cn, Pasty I3 will serve as the lending
       agent /signatory of t}ie loan contract{s). By providing information services, C.ancai.cn will
       assist the online investors (hereinafter as the "Online Investors"), in their capacity as the
       users of Lancai,cn, to enter into the credit-debt relationship with Party A.

    4, Now, therefore, the Parties has entered into this Contract on the matters in connection with
       Party B's issuing loans to Party A as an agent under the custody arrangement for the
       Underlying Interests for mutual compliance.


    article I.     Amount of the Loan

            The amount of the loan to be issued by Party B on behalf of the certain users of Lancai,cn
    shall not exceed RMB (he~•einafter inclusive} fifty million (RMB SO,OOO,000AO). The actual loan
    amount, the details of the initial bort•ower(s), and the co~z~meilcement date shall be determined.

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    according to the electronic transaction records in the fund depository system of the cooperative
    i~tstitution of Lancai.cn.


    Article li.    Term of the Loa~~

   (I)     The term of the loan as agreed herein shall be 12 months.

   (11}    Where Pa~•ty A anticipates to be urtat~le to relay tl~e ~rii~ciJ~al or interest e~f the current
           pet•iod, it shall notify Party B of the same at least ten days prior to the repayment due date
           U; o^e business day zfte~~ k;~ow:rzg the ;~c;dent ~izzt :nay :~s~;l~ :,~ its inability tc ,Hake
           repayment as scheduled so that the Parties may resolve the potential risk of debt default
           in a legal and compliant manner through consultation.

   (lll)   Acceleration of the Loan

            Party A shall prepay the entire loan upon the occurrence of any of the following
    circumstances:(l}where Party A has tampered with or forged the relevant materials provided to
    Party 8 for the establishment of the custody arrangement (including, without (imitation, the
    $roadcasting Rig11t Contract, the materials evidencing Party A's lawful entitlement to the
    Underlying Interests), or refuses to cooperate with the information eight to which 'Party B is
    entitled as agreed, or refuses to provide the necessary information o►- assistance; (2} where Aarty
    A, the guarantor (if any, hereinafter inclusive), or t}te repurchase obligor (if any. hereinafter
    inclusive} is subject to the investigation by reguiator•s due to any suspected major illcga!
    operating activities or subject to the inspection and case investigation by regulators due to any
    suspected i~~regu(arity or crime; (3) where Party A, the guarantor, or the repurchase obligor
    dafaults on any major debts, experiences financial deterioration, disappearance, and other
    situations materially impacting the performance of the repayment obligations by Party Aand/or
    the performance of the guarantee obligations by the guarantor or the repurchase obligor that
    seriously jeopardize the investment security of the users of Lancai.cn, or where the repurchase
    obligor breaches the repurchase ag~•~ement; or (4) where Party A r~qu~sts to terminate the
    custody in breach of the provisions of the Custody and F+nancing Cooperation Agreement, or
    where the relevant Custody and Financing Cooperation A~reernent is terminated, voided,
    rescinded, or suspended for any reason.

            After the acceleration of the maturity of the loan is triggered, Party B sha11 have the right
    to notify Party A that the loan becomes due and payable with immediate effect, ai d Party A shall
    repay the loan pursuant to the notice of Party B imr~lediately. Where Party A fails to make timely
    and full repayment of the loan principal and interest pursuant to such notice, Paa•ty B shall have
    the right to implement the debt t•epay~~nent guarantee measures with the assets iti custody

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    pursuant to the Custody atld Financing Cooperation AgreemEnt, and to assert other remedies as
    provided by laws.


    Article III.     Use of the Loan and Payment Method of the Principal and Ia~terest

   {I)        Use of the Loan: The loan shall be used to supplement Party A's working capita] in its
              day-to-day operations.

   (II)       Repayment of the Principal: The principal shall be repaid in one lump sum on the expiry
              date of ~ 2 mer.±hs afte!~ the ~ssG~nce of the l~?r. Part; A may prepay the !oan prev:~p~
              that a written notice shall be given to Party B ten bus€Hess days in advance; otherwise,
              Pa~~ty A shall pay to Party B ate indemnification amounting to 0.5 percent of the prepaid
              principal in addition.

   (I.II)     Interest Rate of the Loan

              The annual interest rate of the loan hereunder shall be 7.5%per annum.

           k3oth Party A and I'arty'[3 agree that Party B shall appoint [Xinjiang Knight Union Equity
    Investment Co., Ltd.] as the financial advisor for this project to execute a separate Financial
    Advisory Agreement with Party A and charge service fees to Party A.

   (lV)       Interest Settlement Date (hereinafter as "Settlement Date")

            The Settlement Dates shall be March l 5, June 15, September l 5, December 1 S of each
    year, and the date on which Party A repays the principal.

   (V}        Interest Payment Date (hereinafter as "Payment Date")

           Where the Settlement .Date falls on a business day, the Payment Date shall be the same as
    such Settlement Date; where t}~e Settlement Date falls an any day other than a business day, the
    Payment Date shalt be the business day immediately following such Settlement Date.

   (VI)       Interest Calculation

         I.   The interest of the loan hereunder shall be calc~►lated on a daily basis, where the daily
              interest rate =the a~mua! interest rate/3b5.

         2.   The formula far tk~e calculation of the loan interest shall be:

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            loan interest =Outstanding balance of the loan principal *Actual No. of days fro►n the
    commencement date of the loan to the last day or3 wizich the borrower occupies the loan ~ Daily
    interest rite.

          'During the tern of the loan, the interest sf~all be calculated on a separate basis and added
    up where the outstanding balance of the principal of the loan changes,

    (V.11)     Penalty Interest

            Where Party A is overdue in repayment, the creditors shall have the right to charge. a
    penalty interest of 0.45 percent per day until such default or circumstance no longer exists.


    Article iV.       Issuance of the Loan

    ([)        Preconditions for the Issuance of the loan

            Party B shall only be obligated to issue tl~e loan as an agent upon the continuous
    satisfaction by Party A of the followicig preconditions, except as may be waived by Pac-ty .B in
    whole or in part:

               The Contract shalt have become effective and continue to remain in force according to
               laws;

          2.   Party A, Party B, and Lancai Technology shall have executed the Custody and Financing
               Coope~•ation Agreement as attached hereto in Annex I and executed the certificate for the
               closing of'the Underlying Interests;

          3.   Party A shall not have committed any of the default events as provided in the Custody
               and Financing Coope~~atio~i Agreement;

          4.   There shall have been no material advei•sc changes in the Underlying Interests that may
               render the implementation of the custody arrangement impracticable;
          5,   Where Party A inte~~ds to entj•ust any other party to collect the borrowed funds and pay
               the subscription amounts on its behalf with the consent of Party B, the relevant collection
               and payment agreement shall have been executed and become effective;

          6.   .Party A (or the party designated by .Harty A for the collection and payment of funds on its
               behalf, if applicable) shall have opened a Fund deposifiary account at the cooperative
               i.nstiCution of Lancai.cn;

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      7,     The Guarantee Contract, the Repurchase Guarantee Contract in connection with the loan
             hereunder shall have been executed by the relevant guarantor / credit enhancement
             provider and have become effective.

   (II)      Party B shall; within three business days from the date on which the aforesaid
             preconditions for the issuance of the loan are satisfied (exclusive), disburse the amount of
             the loan hereunder (after deducting any platform service fee as agreed, if applicable} on
             behalf of the relevant creditors to the fund depository account opened by Party A at the
             cooperative bank of Lancai.cn, The performance of Party B's obligation to issue the loan
             as.an agent sl3all be fulfilled upon the completion of the aforesaid disbursement.


    Article V.       Repayment

   (!}       Where the custody arrangement exists normally, and the Loan Agreement is peeformed
             normally, Party A will repay the loan principal and interest #o the following account
            (hereinafter as the "Ref~ayment Account"):

             Account Name:          $eijing Lancai Information Technology Co., Ltd.
             Account No.:           800000232765        '
             Bank Name:             Shanghai Huarui Bank Co., Ltd.

   (11)      Where Party B has declared that the loan becomes due and payable with immediate effect
             pursuant to the provisions of Article II (11) hereof, Party A stall, in accordance with Party
             B's notice, pay the loan principal, interest payable, and any other amount payable as
             agreed to the Repayment Account for the full settlement of the loan. Party A shall pay the
             aforesaid amount within fifteen days from the date of receipt of tine notice from Party B.

   (11l)     Voluntary Prepayment

         l. Party A shall have the right to repay all or• part of the loan in advance.

         2. In the event of prepayme►lt by the borrower t~f the Underlying Interests, the Parties agree
            that the loan shall becane due in advance and Party B will use the considerations
            received to repay the peincipal to the creditors, The surplus amount after deducting tl~e
             expenses to be borne by Party A, if any, shall be returned to Party A; if it is insufficient to
             cover the amount payable by Party A, :i'arty A shall make up the shortfall in accordance
             with Party B's notice.




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   Article VI.     Debt ReE~ayment Guarantee IV~echanism

      1.   To ensure the timely and full repayn7ent by Party A, Party A shall entrust the Underlying
           Interests to Party B for discretionary custody. Party I~ shall provide the debt repayment
           guarantee service for the realisation of the creditor's rights of the lenders, and Party B's
           specific authority and measures available shall be as provided in the Custody and
           Financing Cooperation Agreement in Annex I.

      2.   If Party A fails to repay the principal andlor interest on the due date of the loan (including
           natural maturity and early maturity) or the interest payment date, .Party B shall have the
           right to declare the teraninatian of'the custody arrangement of the Underlying Interests on
           the following day, request the guarantor to perform the guarantee obligation, request the
           redemption obligor to immediately redeem the Underlying Interests, or dispose the
           Underlying Interests by itself and use the proceeds to repay the creditors, and take other
           remedies permitted by laws and regulatio~~s.


    Article VII. Subsequent Transfer of Creditor's Rights

           Party A knows and acknowledges that the creditor's rights hereunder will be transfe►•red
    among tl~e Online Investors of Lancai.cn, with the transfer of creditor's rights to be registered in
    the system of Lancai.cn. Party A shall have the right to put forth inquiry requests to Party B and
    to know the name list of the ultimate beneficial creditors and their shares of creditor's rights as
    of a certain point in time.

           The Parties confirm that, with the infarmatian right of Party A guaranteed, in
    consideration of the particularities of the transaction and for the convenience of the Parties, a
    written notice of the transfer of creditor's rights shah be deemed to have been served to Party A
    where the records of any subsequent transfer of creditor's rights are maintained in the system of
    Lancai.cn and can be accessed by Party A at any time.


    Article VIII. Rights and Obligations of Party A

    (I)     Party A s}~alf have the right to request Party :B to issue tE~e loan as agreed in the Contract.

    (ll)    Make withdrawals and full repayment of the loan principal and interest as agreed herein,
            bear all the expenses as provided herein, including; without limitation, the costs of
            notarizatio~3, appraisal, assessinent, re~istratian, etc. (if any).




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   (Ili)   Arocure Party A to ensure the authenticity, le~afity, validity, and enforceability of the
           custody arrar~geme~yt of the Underlying Interests I~ereunder.

  (IV)     Where .Party A is a legal person, in the evei3t of any change in its industrial and
           commercial registration entries such as the domicile, mailing address, business scope,
           legal representative, etc.; it shall notify Party B in writing within three days after• the
           relevant change.

  (V)      Comply with the other provisions hereof.


   Article ]X.    Rights and Obligations of Party B

   (1)     lssue the loan as an agent pursuant to tl~e Contract, conduct centralized management of
           the creditor's ri~hCs and communicate with Party A pursuant to the authorization of the
           lenders and for the benefits and on the behalf of the lenders; provided, however, Aarty .B
           shall not be a party in the credit-debt relationship or the guarantor thereof.

   (iI)    Party .B's Custody Service, Fees, and Collection Method: Party B is entrusted to manage
           the Underlying Interests and perform the debt repayment guarantee obligations, and shall
           have the right to charge custody service fees, which shall be as provided in the Custody
           and Financing Cooperation Agreement specifically.

   (III}   Coz~ply with the other provisions hereof.


    Article X.     t2epresentations and Warranties of Party A

          Party A hereby makes the following representations and warranties to 'Party B, and Party
    B may rely upon such representations and warranties to issue the loan hereunder;

   (])     The execution of the ContracC and the performance of the obligations hereunder by Farty
           A are in compliance with the laws, administrative regulations, rules, and provisions of the
           at~ticles of association or internal organizational documents of ,C'arty A, and have beets
           approved and lawfully authorized by the competent corporate ~ovcrning body and/or the
           competent authorities of the State.

   (1Z)    Party ~1 has provided the true, accurate, and complete user information and financing
           information:




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   (I'[7)    Party A has truthfully provided the information of the outstanding loans with all the
             f nternet fending information intermediaries;

  (.iV)      Pa►-~y A undertakes that the financing projects are true and le~itimace and that it will use
             the borrowed funds for tl~e agreed purposes and wii! not use it for such other purposes as
             lending and high-risk invesement;

   (V)       Truthfully report to Party Q any material information that affects or may affect the rights
             of the lenders as agreed;

   (V!)      Confirm that it has the repayment ability that matches the loan amount and makes
             repayment as agreed in the Contract


    Article XL       Liabilities for Breach of Contract

    (I)       Where either Party defaults hereunder, such .Party shall bear the liabilities for breach of
              contract to the non-breaching Party and shall indemnify the non-breaching Party from
              and against the direct losses caused by its default.

    (I.I)     In the event that Party A fails to repay the loan when due, the guarantee measures (if any)
              s{call be implemented, and the debt repayment guarantee measures as provided in the
              Custody and Financing Cooperation Agreement in Annex I steal! be implemented.


    Artecle XII.     Mocli~cation, Assignment, Rescission, or Termination of the Contract

    (!)       Neither Party may modify or terminate the Contract after the execution hereof.

    (I[}      Any modification to the Contract sl~all be made with the written agreement by the 'Parties
              reached through consultation.

    (II1)     Party B shall 17ave the right to assign its rights and obligations herEunder to a third party,
              provided that Party A must be notifiEd; Party A may not assign its rights or obligations
              hereunder to any third pa~~ty without the consent of the other Party.

    (1 V}     The Contract may be rescinded oz• terminated under the following circumstances:

          1. With the written agreement by the Parties reached through consultation;



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     2. Where either Party commits any material default hereunder or breaches the Contract which
        hasn't been cured within three days after• being so requested by the other Party, the non-
        breaching Party shall have the right to rescsnd or terminate the Contract;

     3. The Contract may be rescinded ar terminated pursuant to laws or other provisions 1lereof.


    Article XIII. Governing Laws and Dispute Resolution

   (I)    The Contract shall be ~averned by the laws of the People's Republic of Cliina.

   (II)   Any dispute arising from the performance of tl~e Contract may be resolved through
          consultation, failing which either Party may bring such dispute for arbitration by the
          Beijing Arbitraiian Commission.


    Article XIV. Miscellaneous

   (I)    Assumption of Expenses

          The following expenses shall be borne by Party A:

           I. The registration, custody, appraisal, notary expenses (if any} relating to the Contract;

          2/   All t11e expenses actually incurred by Farty B,far the realization of the creditor's
               rights {including, without limitation, litigation costs, arbitration costs, property
               preservation costs, travelling expenses, execution casts, appraisal fees, auction costs,
               notary fees, service fees, announcement ehar~es, attorney fees, etc., if any) shall be
               borne by Party A.




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   (II}     Notice

            Unless otherwise provided herein, all the nofiices hereunder between the Parties may be
            sent to the following addresses by fax, mail, courier, or such other means as may be
            agreed upon by the Parties:

            Party A:    LeTV Sports Culture Develop (Beijing) Co., Ltd.
             Address:   Building No. 13, Dianton~, Creativity Square, No. 7 Jiuxiangiao N Rd.,
                        Chaoyang District, Beijing
             Telephone: O10-50963.767                                                  .
             Fax:

            Party B.     Shanghai Lancai Assets Management Co., Ltd.
             Address:    Unit 2210, Block 3, Jinquan Tit~ne Building, No. 317 Datun Rd B.,
                         Chaoyang District, Beijing
              Post Code: 100106
              Telephone: (010) 84874006
              ~'ax:      (010)84874586

      2.    dither Party shall promptly notify the other Party in writing of any changes in its mailing
            address ar contact information; any losses caused by t6~e failure of such prompt
            notification shall be borne by the Party whose ►nailing address or contact information has
            changed.

    (111)   Reservation of Rights

            The rights of a Farty hereunder shall not pt•ejudice or preclude any other rights it may
    have under laws, regulations, and other contracts. Neither any tolerance, indulgence, or
    forbearance gra~ited in connection with any breach or delay, nor any delay in exercising any
    rights hereunder shall be deemed as the waiver of the rights and interests hereunder or as the
    per3ttission or acknowledgment of any breach hereof, nor shall it operate to limit, prevent, or
    preclude any continuous exei-cisin~ of such ~•i~i~t or the exercising of any other rights, or impose
    any obligation or liability on one Party to another.

    (IV}     The Contract shall become effective upon being executed by or affixed with the personal
             seal of the legal representative or authorized representative and affixed with the company
             seal of both Parties.

    (V)      Any matters not covered herein shall be governed by the relevant provisions of the
             Custody and Financing Cooperation Agreement; furthermore, both Parties may enter into
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          separate written agreements as the attachments hereto. Any attachment, ~nodi~cation, or
          su~piement to the Contract shall be an integral part hereof, with the same legal force and
          effect.

  (Vf)    The Contract shall be made in two original copies, with one copy to be held by each Party,
          each of which shall have the same legal force and effect,

           Party A hay read all the p~•ovisions hereof Party A acknowledges that Aarty B 1~as made
   the relevant explanations of the provisions hereof Party A has full knowledge and understanding
   of the meanings and the corresponding le ~a1 consegtaences of fihe provisions hereof.


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   with no main content




   'Party A: LeTV Sports Culture Develop'(Beijing) Co., Limited (corporate seal)
   (seal:] Seal of LeTV Sports Culture Develop (Beijing) Co., Ltd.


   Legal representative/authorized representative (signature or seal)
   [seal:] Personal seal of Gao Fci

   [hw:] December .1, 2016




    Party B: Sliangl~ai Lancai Asset Management Co.,.Ltd.(corporate seal)
   [seal:] Corporate seal of Shanghai Lancai Asset Manage~rent Co., Ltd.


    Legal representative/authorized representative {signature or seal)
   [seal.} Personal seal of Huang Zhe


   [hw:J December• 1, 2016




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                                ~jt'',
         Name:       SyJvla Lau

         Title:      Project Assistant

         Date:       27 Nov 20?8




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                            Award of the Beijing Arbitration Commission

                                                                      X20!8)Jing Zl~ang Cai Zi Igo. 414G


     Claimant:             Shanghai Lan Cai Asset Management Co., Ltd.
     Residential address   Rm 1049, Building 6, No. 112-118 Gao Yi Road,
                           Baoshan District Shanghai City
     Legal representative: Liao Z4~ida   General Manager
     Entrusted agent:      Sun Fei      -Staff anember of Sl~anghahi Lan Cai Asset Management Co., Ie,td.
                           Li Bin        Staff member of Sliangliahi l.an Cai Asset Management Co., I,td.




     Respondent:           LeTV Sports Culture Develop {Beijing} Co., Ltd.
     Residential address:  1 l d3, Level ]d, Building 3, No, 105 Yao Jia Yuan Road,
                           Chaoyang District Beijing City
     Legal representative: Lei Zhenjian General Manager
     Es~trusfied agent:    Li Yuasi        Stai'f member of this company



     Respondent:           TV Plus Holdings(Beijing) Limited
     Residential address:  11 Q2, Level 10, Building 3, No. 105 Yao Jia Yuan Road,
                           Chaoyang District Beijing City
     Legal representative: Wu Meng        Manager
     Entrusted agent.      Zou Yi         Beijing Zl~ong Shu .Law Offices



     Respondent:              Jia Yueting
     ID card No.:             14262319~312150817~
     Residential address;     No. 31, Jie Fang West Road, Yaodu.District, llifen City, Shanxi Province
     Entrusted agent:         Zou Yi         Beijing Zl~ong Shu Law OFfices
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           The Beijing Arbitration Commission {)~ereinafter referred to as the "Commission") has, in
   accordance with the Arbitration Application submitted by Claimant Shanghai Lan Cai Asset
   Management Co,, Ltd. (hereinafter referred to as "Claimant") to the Commission as well as the
   arbitration terms in the Laan Contract and the Re~w•chase Guara~~tee Agreement executed by and
   between the Claima~~t and Respondent LeTV Sports Culture Develop (Beiji~tg) Co., Ltd.(hereinafter
   referred to as "ls' Respondent"}, Respondent TV Plus Holdings (Beijing) Limited (hereinafter
   referred to as "2"d Respondent") and Respondent Jia Yuetirtg {liereinaRer referred to as "3"~
   Respondent". The ls', 2nd and 3`d Respondents are hereinafter collectively referred to as
   "Respondents") and the provisions of the relevant laws, accepted an June 2$, 2017 .the dispute
   arbitration case arising between the Claimant and the Respondents from the abovementioned
   contracts {hereitiafrer referred to as the "Case'.'). Case code:(2017) Jing Zhong An Zi No. l 504.

          This Case shaEl be governed by the Arbitration Rules ofthe Beijing Arbitration Commission
    implemented from April 1, 20]5 (hereinafter referred to as "arbitration Rules").

            After liavin~ accepted this Case, documents such as the Notification of Acceptance,
    Arbitration Rules and Roster of Arbitrators have been served upon the Claimant in accordance with
    the provisions ofthe Arbitration Rules; and documents such as the Request for Submission of Answer,
    Arbitration Application, evidentiary materials of tl~e Claimant, Arbitration Rules and Roster of
    Arbitrators have been served upo~~ the Respondents in accordance wit4i tl~e Arbitration 'Rules.

            Due to the fail~~re of both parties to nosni~~ate an arbitrator within the required ti~neframe, and
    the failure of bath pa~~ties to jointly nominate a chief arbitrator within the required tinleframe, in
    accordance with the Arbitration Rules of the Commission, the Director of the Commission has
    nominated Mr, Wu Shengchun to act as chief arbitrator for this Case, and Ms. Kang Le and Mr. Nan
    Xu to act as arbitrators for this Case,to form an arbitration tribunal on September 2.1, 2017,and apply
    the normal procedures to the hearing of this Case. The Commission has, in accordance wit4~ the
    Arbitration Rules,served upon both parties Notification ofFormation ofthe Tribunal and Notification
    of Tribunal Hearing. On the same day, the Arbitration Tribunal decided to conduct tribunal hearing
    of this Case on October 27, 2417. The Commission has served upon both parties the Notification of
    For~iation of tiie Tribunal and Notification of Tribunal Hearing in accordance with the provisions ofi
    the Arbitration Rules, and neither party leas raised any appositioc~s Yo the members of the arbitration
    tribunal, nor has any request for recusal has been raised,

             The arbitratio» tribunal has reviewed all the materials far arbitration submitted by the parties,
    and conducted the first tribunal hearing of this Case in Beijing an October 27, 2017. Tl~e agent ofthe
    Claimant attended the hearing, and the Respondents failed to appear before the tribunal without a
    just'sfiable cause despite having bee~~ advised in writing to do so by the Commission, the arbitration
    tribunal conducted a default hearing in the said first tribunal hearing. On December 1, 2417, the
    arbitration tribunal conducted a secosld tribunal hearing of this Case, where both the Claimant and
    the Respondents attended by way of their agents. Tl~e Claimant stated their arbitration claims and the
    facts and reasons which such claims were based upon. The Respondents answered the cEaims. The
    pa~~ties produced their evidence and performed cross-examination of their evidence. The arbitration
    tribunal conducted investigation ofthe facts related to this Case,and organized the parties for a debate.

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    Prior to the conclusion of the hearing, both the Claimant and the Respondents delivered their final
    statements of opinions.

           This Case has now been concluded.'The arbitration tribunal has rendered tltiis Award in
    accordance with tl~e details and related evidentiary materials in the tribunal Bearing as well as the
    relevant laws and the Arbitration Rules after panel discussions.

            The details of this Case, opinions of the arbih•ation tribunal and the Award are separately set
    forth as follows:

                                             I. Details of the Case .

          (1) Arbitration claims ofthe Claimant

             The Claimant said that on December 1, 201 b, the Claimant executed a Loan Contract with the
    lst Respondent, providing that the Claimant.will lend to the ls`.Respondent a loan of50 million yua~~
   (RMB, same as below), at the annual interest rate of 7.5%, and the principal of this loan shall be
    repaid in a lump sum payment by the expiry date of the {oan, with interest payment to be made on a
    yuarteriy basis; and on the same day, the ls' Respondet3t, 2"d Respondent and 3`d Respondent jointly
                                                                                                       3Ta
    executed a Repurchase Guarantee Agreement with the Claimant, ~~herehy the 2"d Respondent and
    Respondent will be, on a voluntary basis, severally and jointly liable far providing guarantee for the
    I S` Respondent's performance oftheir obligation of repayment under the loan Contract, and the term
    of such guarantee shall be 2' years commencing from the expiry date by which. the debt being
    guaranteed has been repaid in full,

             U pon execution oftl~e Loan Contract and the Repurchase Guarantee Agreement,the Claimant
    paid titre loan of 50 million yuan by way of bank transfer to the bank account designated by the ls'
    Respo~~dent.

           [n acco~•dance with the provisions of the agreements between the parties, the Claima»t
    requested early full repayment oftP~e principal, and full payment of all overdue interest amounting to
    945,205.48. yuan, from the 1 S` Respondent, along with any interest accrued on the delay in
    performance, and sought resolutions with the Respondents through many ways. However, the
    Respondents shirked with a variety of excuses, and ttie abavementioned payments have yet to be
    made to date.

            The Claimant raised the following arbitration claims:

             l , the 1 S` Respondent shall pay to the Claimant:

           (1) principaLof the loan of 50 millioi7 yuan, with payment of :merest of 945,205.48 yuan
    (commencing froth March l5, 2017 to, tentatively, June I5, 2017, and in fact such interest shat! be
     accrued till the date of full payment of ail the principal and interest); c1Tla



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           {2)the cost ofj•ealizatio~l ofthe debt claims shall tentatively be determined as 1,083,000 yuaiz;

        2. the 2"d Respondent and 3`d Respondent shall be held severally and jointly liable for full
    payment of the abovementioned amouszts; and

        3. the Respondents shall be faintly responsible for all the costs incurred in the arbitration of this
    Case.

           During the first tribunal heari~ig, the Claimant orally requested changes to their arbitration
    claims and, on October 31, 2017, the Claimant applied for changes to tl~eir arbitration claims in
    writing, and such application vas accepted by the arbitration ~ribunaL

            Tlie final arbitration claims of the Claimant are:

            1. tl~e 1st Respondent shaft pay to the Claimant.

           (1}the principal of 50 tniflion yuan, wifih pay~tierrt of interest of 1,890,410.96 Yuan (,nethod
    of calculakion: 5,000 x 7.5% x 18~I365, for a total of 1$4 days commencing from March 15, 2017 to
    September l 5, 2017, and i~~ fact such inteeest shall be acert~ed till the date of full payme~it by the
    Respondents), and payment of penalty interest of 5.65 million yuan (method of calculation:
    504,00O,000 x 0.05% x 226,fos~ a period of tentatively 226 days in tota3 commencing from March 15,
    2017 to October 27, 2417, and in fact such interest shall be accrued tit! the date of full payment by
    the Respondents); and

           (2) the Claimant shall be paid the expenses for realizi~i~; such debt claims, whicl~ a►-e
    tentatively determined as 507,028 yuan, ii}eluding the premium of 52,028 yuaci payable to the
    preservation and insurance prov'sder, cost of preservation of 5,00 yuan payable to the court, and legal
    fees of 450,OQ0 yuan;

        2. the 2"d Respondent and 3~d Respondent shall be held severally aid jointly liable for full
    payment ~f tl7e a6ovej~ientioned aiY~ounts; and

          3. tl~e .Respondents sfiall be responsible for all the costs of the arbitration of this Case.

            (lI) Opinions, facts and reasons provided by the 1 S` Respondent in tkieir answer

            The agent of the ls' Respondent submitted their written opinions in answering the claims in
     the second tribunal hearing, and provided oral defense, the primary opinions of which are set forth
     below:

            1. the Loan Contract and tl3e Repurchase Guarantee Agreement fall under Hie circu~7~stances
    of invalid of contracts specified in Article 52 Item 2 of the Contract La1~~ of the People's Republic of
    China, i.e., khe Claimant and the 2"d Respondent and 3`d Respondent maliciously colluded in breach
    of the interests of the 1S' Respondent, which shatI render the Loan Contract and the Repurchase

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    Guarantee Agreement invalid, and the Claimant having no right to demand paymesit from the ls~
    Respondent ofthe loan principal and interest as well as the expenses for real ization ofthe debt claims.
    The detailed reasons are fisted as below:•

           (i) the official seal of tfie 1 51 Respo~ident was kept a+id used by tl~e 2°d Respondent, and the
    affixing of the seal of 1 5t Respondent to the loan Co►~tract was not approved or consented to by the
    i 51.Respondent, who had no knowledge of the execution of the Loan Contract;

            (2) the funds under the Loan Contract 13ave not yet arrived at the accoun# of the 1 S' Responde~~t.
    Tlie loan of 50 million yuan provided by the Claimant was transferred to the bank account maii7tained
    Uy Beijing Duo Le 7hi Hui Technology Co., Ltd. at Ping An Bank, but the lst Respondent has never
    instructed the Claimant to tra~~sfer the loan to the account of Beijir~g Duo Le 7hi Hui Technology Co.,
    Ltd., and tl~e ls' Respondent has also never received any amount from Beijing Duo l.,e 7hi Flu/
    Technology Co., Ltd,; and

            (3) /lie Claimant knows about the above details;

           2. Article 4 of t4~e Loan Contract provided for the prerequisites to tS7e release of the loan. Only
    by co~~tinually meeting the prerequisites to the release of loan will the l s` Respondent obl'sge the
    Claimant to act as the agent in releasing the loan. The prerequisites in Artic{e 6 require that the ls'
    Respondent or their designated money receiving and paying agent shall have opened a fund deposit
    account with a collaborating agency of C,an Cai Net. T4~e Claimant is required to, with a period of
    time from the satisfaction of the prerequisites to the release of the loan, released the loan to the fused
    deposit account opened by the l S' Respondent at the collaborating bank of Lan Cai Net. The Gaimant
    and the 2°d Respondent maliciously colluded in breach of the interests of the 1 S` Respondent, by
    releasing the loan to the account of Beiji~ig Duo Le Zhi Hui Technology Co., .Ltd., which is
    incompliant with tl~e provisions of the Doan Contract, whicl3 shall be found invalid; and

              3. the of~"icial seal of the ] S` Respondent was managed specially by Xu Zl~anchun from the
     date of incorporation ofthe 15t Respondent to October 16, 2417, and Xu Zhanchun was a sta~'f member
     of tfie 2"d Respondent specially in charge of the keeping of their official seal.

             (llI) Opinions, facts and reasons provided by the 2"d Respondent in their answe►-

             The agent of the 2"d Respondent provided oral defense in tl~e second tribwial hearing, acid
     submitted their written proxy statement oFopi►~ions after the hearing, where the primary opinions of
     their defense are set forth below:

            1. the Claimant is a not a qualified party to this Case, having no right to raise debt claiEns to
     the Respondents as a creditor,

             (1) in accordance with the provisions of the .Loan Contract, nobody but the ~~etwork investor
     ai d the ls' Respondent are the parties to the debt-claim relationship udder tl~e Laan Contract, and the
     Cla'smant has not provided evidence that the network investor i~as authorized them to act as their agent

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    to make claims of rights to tl~e borrower and the guarantor. The Claimant has no rigitit to ma4ce debt
    claims to the 'Respondents based on khe Loan Contract;

           (2)even if we assume that the Claimant were the creditor under the Loan Co~3tract, due to the
    fact that they have Transferred their creditor's rights to Tao Yun Capital Graup Co., Ltd., they are no
    !anger a qualified party to this Case, witf~ no right to make debt claims to the Respondents under the
     Doan Contract;

             The Debt Assignment Agreement executed by and between the Claimant and Tao Yun Capital
    Group Co,, Ltd. on July l 4, 2017 leas already assigned the debts under the Loan Contract and all of
    their subordinated rights and interests to Tao Yun Capital Group Co., Ltd. The Claimant shall, from
    tt~e commencement of the Debt Assignment Agreement, no longer be a qualified party to this Case,
    liavi~ig no right to make debt claims to tl~e .Respondents ur►der the Loan Contract;

           2. the debts under Loan Contract have not become due for repayment, and there are no such
    circumstances rendering the loan becoming due earlier. The Claimant's request that the Respondents
    shall make early repayment is based ott ~ieither facts nor the ta~v, and shall be rejected;

            3. the Claima~~t has demanded an excessive amount of penalty interest, which is i;3 violation
    of the ~T~andatory requirements of the People's Bank of China. We request the arbitration tribunal to
    re-adjust that;

           The Claimant and the lS' Respondent agreed to the penalty interest rate as 0.05% in the Loan
    Contract, which can be converted to an annual rate of 18.25%

            Article 3 of the Notification of the People's Bank of China regarding the Issues related to
    RMI3 Loan Interest (Yin .Fa [2003] No. 251) clearly provides that: "Penalty interest on any overdue
    loans {loans where the borrower fails to make repayment by the date specified in the contract) will
    be changed from the curre~yt daily rate of 2.~1 ten-thousandths to 30%-50% ire addition to tl~e loan
    interest rate indicated in the loan contracts", which describes the case of the Loan Contt•act executed
    by and between the Claimant ar~d the 1 S' .Respondent. In accordance with the above provisions,
    penalty interest may only be an additiona130%-50% to the lawn interest rate, which, as agreed to by
    and between the Claimant and tiie 1 S` Respondent, is 7.5% p.a., ~vhicf~, along with the additional 30%-
    54%, shall be 9.75% - 11.25°/u;

             1n this Case, the Claimant and the IS` Respondent agreed to a high per}alty interest rate of
       8.25%, 60%over the ceiling rate requrred by the law, which shall be an invalid agreement, unfair to
     tiie Respondents. We request the arbitration tribuna{ to lower this penalty interest which is in violatio»
     of the mandatary requirements of the la~v;

             4, interest and penalty interest are two different legal concepts. The one payable within the
     term of the loan under the Loan Contract is interest, and tl7e one payable on any overdue load is
     penalty interest. The Claimant's request that the Respondents shall pay bath interest and penalty
     interest from March l5, 2Q17 is based on neither facts nor the law, and slial! be rejected;


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            Interest and penatty interest are two completely different legal concepts. The law co~itains
    efear requirements for their respective period of accrual. In accordance with the provisio~is of the
    Contract La~a~, the debtor shall pay interest to the creditor in accordance with the loan interest rate set
    forth in the loan contract within tine term of the faan. Only if the debtor fails to repay the loan by the
    deadline specified may the creditor demand interest on overdue repayment, i.e., penalty interest, from
    the debtor in accordance with the contract or •elated regulations of tl~e state from the due date of
    repayment.

            in this Case, repayment of the debts under the Loan Conh•act has not become due, and there
    are rlo circumstances rendering the loan becorn.iiig due earlier. During the term of repayment, the
    creditor shall, in accordance witl3 the provisions of Article 3 Paragraph 3 of the Loan Contract,
    demand interest from the debtor at the annual rate of7.S%.Only if the debtor fails to repay in full the
    principal by tl~e due date of repayment falling on December 2,2U17 will the creditor become entitled
    to demand penalty interest in accordance with the )aw. The Claimant's request in their first arbitration
    claim that the Respondents shall pay both the interest far the period from March 15, 2017 to
    September l 5, 2017 and the penalty interest for the period from March 1 S, 2017 to October 27, 2017,
    is based on neither facts nor the law, giving uF~justifiable additional burden to the Respondents, and
    shall be rejected;

            5. The expenses requested iti the Claimant's arbitration claim for realization of debt claims
    are unjustifiable burdens to the .Respondents, and they sl}all be not assumed by Res{~andents; and

             6, The conditions for the Respondents to be held liable for the guarantee have not yet been
     m et, and the Claimant has no right to request the 2nd Respondent be held liable for the guarantee;

            (1)The debts under the Laan Contract, which is the master contract, lave not yet became due,
    and there are no circumstances rendering the loan becoming due earlier. In this case, the Claimant
    itas Rio right to request the Respondents be held responsible For the guarantee under the contract; and

           (2) T}~e Claii~~arlt has failed to issue a Nati~catiQn of Repurchase in writing in accordance
     with the provisions of the Repurchase Guarantee Agreement, and the co~~ditions for the Responde~its
     to be held responsible for the guarantee have not yet been met.

           (1V} Opinions, facts and reasons provided by the 3`d Respondent iii his answer

            The agent of the 3`~ Respondent provided oral defense in the second tribunal hearing, and
     submitted their writte~3 proxy statement of opinions after the hearing, where the opinions of their
     defense are the sane to those provided by the 2"d Respondent as above, and d1e followis~g
     supplementary opinions of defense are also provided:

             The provisions in the Repurchase Guarantee Agreement that bald the 3rd Respondent
     perso~ially responsible for the unlimited, several and joint liability for the 2°d Respondent's
     repurchase obligation were made by lifting the limitation on corporate liabilities in standard terms to


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    the effect that the legal representative will personally assume to}limited liabilities. These provisions
    shall be invalid. The 3`d Respondent si~all not be responsible for providing guarantee to the Claimant.

            ' I'lie Company Law of China clearly provides that a carnpaiiy shall be liable for its debts with
    ali of its own property. In this Case, the 2"d Respondent executed a Repurchase Guarantee Agreement
    with the Claimant, providing tl~at the 2°d Respondent will be severally and jointly liable for providing
    guarantee far, and assume the obligation of repurchase of, the direct loan between the 1 S~ Respondent
    and the Claimant. These are tl~e limited liabilities of the company. The Clai,nant, however, included
    the 3rd Respondent, namely the legal representative of tl~e original 2"d Respondent, into the..
    Repurchase Guarantee Agreement,requesting him to be severally and jointly liable far the rep~irchase
    obligation oft!}e 2°d Respondent. This is lifting the lim nation on corporate iiabi3ities in standard terms
    to the efi'ect that the legal representative will personally assume unlimited liabilities. Tl3e arbitration
    tribunal shall appropriately balance the factual inequality betwee~t the transacting parties, and rule
    out unreasonable terms, in order to seek substantive justice.

           (V)Production and cross-examination of evidence by the parties

           To support their arbitration claims, tl~e Claimant submitted to the arbitratio~3 tribunal the
    following evidentiary materials:

            Evidence 1, the Loan Contract, which is intended to show the loan relationship behveen the
    Gaimant and the 1$' Respondent, the loan of 50 million yuan lent at the interest rate of 7.5%, as well
    as the clear provisions regarding the time of repayment and early repayment;

            Evidence 2, the Repurchase Guarantee Agreement, w3iich is intended to show that the 2"d
    Respondent and the 3`d Respondent shall be severally and jointly liable for providing guarantee for
    the debt-claim relationship between the Claimant and the 1 51 Respondent;

            'Evidence 3, voucher of money transfer, which is i33tez~ded to show that tiie ClaiFnant has
     already performed their loan obligation by pay tl7e load to the Respondents;

           Evidence 4, confirmatio~l letter of payment, which is inte~ided to show the same contents as
     Evidence 3;

            Evidence 5, receipt oFpreservatioi~ fees, which is inte~~ded to show that the Claimant has paid
     preservation fees of 5,000 yuan for realization ofithe debt clai►ns;

             Evidence 6, invoice of insurance premium, which is inteEided to show that the Claimant paid
     premium to an insurance company for realization of the debt claims, in order to preserve the property
     of the Respondents;

            Evidence 7, invoice of legal fees, which is intended to show that for the preservation of
     property, the Claimant paid legal fees, with the total invoice amount of 450,000 yuan;



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            Evidence 8, the Legal Agency Agreement, which is intended to show that the Claimant paid
    legal fees of450,000 yuan For this Case;

           Cvidence 9, the Payment and Receipt Agency Agreement, which is intended to show that the
    Respondents have already received the payment of 50 million yuan, and the Claimant has already
    performed their obligation of loan release;

           evidence 10, pl~atos of the scene of contract executio~t. Tiic 1 S' Respondent is clearly aware
    ofthe Loan matter involved in this Case. Lei Zhenjien,their CEO,is at the scene ofcontract execution;

           Evidence 11, the Power of Attorney, which is intended to show that the Claimant made their
    debt claims and participated in the arbitration «pith the consent of the original creditor;

           .Evidence l2, the Letter of Debt Collection, which is intended to show that tl~e Claimant
    advised on May 17, 2017 that the loan had become early due, and the guarantor shall be liable for
    providing guarantee.

           The 1 51 Respondent provided the following opinions of cross-examination regarding the
    evidence submitted by the Claimant:

            Evidence 1 to 4 shall be recognized for its authenticity, but invalid to the ls' Respondent;

           Evidence 5 to 8 shall be recognized for its authenticity, but insurance premium, preservation
    fees and legal fees will not be recognized for relevance to iisis Case;

           evidence 9 shall be recognized For its authenticity, but its purpose of proof wi11 not be
    recognized;

             Evidence 10 shall be recognized for its authenticity, but not recognized for relevance, The
    photos were merely taken of the office environment of the ]s` Respondent, especially the main door,
    where there was not a gate maclzi~ze allowing evec•ybody to take pliatos of it. These photos are not
    suf~iciecit to any relevance to tl~e execution of the .Loan Contract. 7'}7ere is ~~o other evidence in this
    Case capable oi'showing that the photos were taken when tl~e contract was signed, T~lE Signature gage
    oC the Loan Contract bears the official seal of the 1 S` Respondent and the name seal of someone call
    "Goo Fei". Neither of these seals were managed by tl~e ls' Respondent, and "Goo Fei" was then the
    nominal Chairman of .Board of Directors of the I S` Respo~~dent, whose position was Presidei7t of
    LeTV, being a member of the LeTV headquarters;

            The 1 S` Respondent did pat expressed opinions of crass-e~.amination of Evidence 11 and 12.

           Tl~e 2°d Respondent expressed the following opinions ofcross-examination as to the evidence
    submitted by the Clai~llant.




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           Evidence l to 4 shall afl be recognized for its authenticity, and not For its purpose of proof. It
   has plot been evidenced wl~o slia~l be qualified to make fine debt claims and when to do so. The
   Claimant is not so qualified to make the claims; and the Claimant's early repayment claim is not
   backed by sufficient evidence. Legal responsibilities oFacompany shall not be transferred to its legal
    representative.

           Evidence 5 to 8 shall be recflgnized for its authenticity, but the expenses For realization of the
    debt claims shall be assumed by the Claimant themselves. The interest under the Loan Contract is
    already double tkie amauilt based on the bank's loan interest rate of 4.7%. The Claimant is able to
    receive higher interests in accordance with the contract, but the expenses for realization of the debt
    claims are the .necessary costs the Claimant is supposed to pay in making their debt claims. The
    provision that the so-called expenses for realisation of debt claims shall be assumed by the borrower
    and the guarantor imposed additional economic burden air tt~e barrawer and the guarantor, which is
    a disguised way of increasing the benefits receivable fron~ the interest rate;

            Evidence 9 stlall be recognized for its authenticity;

            Evidence 10 shall be recognized for its authenticity, and its purpose of proof; a~3d

            The 2"d Responcicnt did not express opinions of cross-exami~~ation of Evidence 1 1 and 12.

           The 3`d Respo;dent expressed his opinions of cross-examination of the evidence submitted
    by-the Claimant, and expressed same opinions ofcross-examination to the 2"`' Respondent's as to
    Evidence I -10, but did not express opinions ofcross-examination of Evidence 11 and 12.

            This 1 S` Responde»t produced tiie following evidence:

            Evidence 1, receipt ot~seals, which is intettded to show that the official seal and tl~e contract
    seal ofthe 1 s~ Respondent were managed 6y the 2"d Respondent prior to the date of handovec, October
    1 G, 2017. The person taking over tile. seals, namely Xu Zhanchun who signed the ha~~dover receipt,
    is a stafF member of the Seals a►id Archives Department of the 2"d Respondent;

            evidence 2, Results of inquiry at the National Enterprise Information Disclosure System,
    which are intended to show that the registered capital of Beijing Duo Le Zhi Hui Technology Co.,
    Ltd. is only 500,000 yuan, and ,Beijing Duo Le Zhi 1-fui Teclmology Ca,, Ltd. is not related in any
    manner to the I S` Respondent, and this company is curre~}tly still a going concern;

            Evidence 3, media reporting of the shareholding; changes to Lan Cai Net and tl}e status oftheir
     investments, wi~icl~ is intended to show that the 2"d Respondent invested in Lan Cai Net in August
     2016, when Lan Cai Net announced comp3etion of Round B financing in aEnount of 180 million yuan,
     and TV Plus .Holdings (E3eijing) Limited led the investment in this financing, followed by Jun Lia~~
     Capital. There is a close relationship between Lan Cai Net and the 2"d Respondent and dtie .LeTV
     system, and Lan Cai should be aware of the association between as well as the management of the
     2"~ Respondent and companies related to LeTV;


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           Evidence 4, results of inquiries about LeTV etT~ployee irtformation, which are intended to
    show that Xu Zhancllun (signatory ofthe seals handover receipt) is a staff mcinber of Administrative
    Division Seals and Archives Department of the 2"d Respondent;

           Evidence S, the Debt Assignment Agreement, whicl3 is intended to s}iow that the Claimant
    executed a Debt Assignmenfi Agreement in Chaoyan~ District, Beijing on July l4, 2017 with Yun
    Tao Caprtal Group Co., Ltd,, providing that under the Loan Contract execu#ed by and between the
    Claimant and the 1 S' Respondent, the principal of the debt is 50 million yuan, which is assigned to
    Yun Tao Capital Group Co., Ltd. as consideration, and tiie Claimant's arbitration application is nat
    based.on any rights.

           The Claimant expressed the following opinions of cross-examination as to the evidence
    submitted by the 1 5i Respondent:

             Evidence ]cannot be recognized for authenticity, and shall not be.recogiiized for purpose of
    proof, The 1 S` Respondent intends to show that they had no power to manage the seals prior to October
    16, 2U17, and hence denies that tl~e contract was an expression of their firue intent. The use of tl~e
    seals and approval ofcontents are internal decisions ofthe 1 5t Respondent, which shall not have effect
    on an outside third party. They should riot deny that the Loan Contract was ati expression oftheir true
    intent dui to their defective internal decisions. The Loan CoFitract was executed in the office premises
    of the 1 S` Respondent, who is aware of the fact of the execution of the Loam Contract;

            Evidence 2 shall be recognized for its authenticity, but not recognized for its purpose of proof.
    Though the registered capital of Beijing Duo Le Zhi F3ui Technology Co., Ltd, is only 500,040 yuan,
    they will not be stopped from acting as on behalfofthe I ~` Respondent to receive t4~e loan of5 million
    yuan released by the Claimant. We do not agree to add Beijing Duo Le Zhi Hui Technology Co., Ltd.
    as third persost to this Case;

            Evidence 3 shall be recognized for its authenticity, and not recognized far its purpose ofproof.
     Lan Cai Net was in a~~ investor-investee relationsl3ip evid7 the 2°d Respondent aszd tl~e LeTV system
     in August 2016. The ls' Respondent and the 2"~ Respondent are associated companies. If the IS`
     Respondent believes the 2"d Respondent colluded to damage their interests, tlyat was a result of their
     bad internal decision making,and na adverse consequences ofbad internal decisions shalt be assumed
     by the good-faith Claimant.

             evidence 4 cannot be recognized for its authenticity. Even if this evidence were assumed to
     be authentic, it wiU not be recognized for its purpose of proof. The 1 51 Respondent should be
     associated to the 2"d Respondent, acid the use by the 2°d Respondent ofthe seals ofthe 1 S~ Respondent
     is likely Yo have been authorized by the ls` Respondent; acid

            Evidence 5 cannot be recognized for its authenticity, and shall not be recognized for its
     purpose of proof,



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           Tlie 2°d Respondent expressed the following opinions of cross-exailiination of the evidence
    submitted by the 1 S' Respondent:

           Evidence 1 cannot be recognized for its authenticity, and sl~al) not be recognized for its
    purpose of proof;

            Evidence 2 shall be recognized for its authenticity, but not reoagz~ized for its purpose of proof.

           Evidence 3 does not conform to the formal requirements For electronic evidence, and cannot
    be recognized for its authenticity;

            Evidence 4 shall be doubted as to its legality;

            Evidence 5 shall be rEcognized for its authenticity and purpose of proof.

            The 3`a :Respondent also expressed opinions o~cross-examination of the evidence submitted
    by the 1 S~ Respondent, which were tt~e same to those of the 2"d Respondent.

            The 2"d Respondent produced tl~e,following evidence:

            Evidence i, the Debt Assignment Agreement executed by and between the Claimant and Tao
    Yun Capital Group Ca., Ltd, on .fuly 14, 2017, which is intended to s1~ow that even if the Claimant
    were a credited under the Loan Contract, they have already assigcied the debts under the Loan
    Contract and all of their subordinated rights and interests to Tao Yun Capital Group Co., Ltd. The
    Claimant shall, from the commencement ofthe Debt Assignment Agreement, no longer be a qualified
    party to this Case, having no right to make debt claims to the Respondents under the Loan Contract;

            'Evidence 2, the Entrusted Manageme►~t and Finance Collaboration Agreement executed by
     and between t1~e Claimant and the 1 S` 'Respondent as well as Beijing Lan Cai Information Technology
     Co., Ltd. on December 1, 2016, which is intended to show that tl~e (Dail lending in thts Case has truly
     and effectively taken place. The Loan Contract pack consists of G documents, ~vhicl~ form a complete
     chain of evidence, with all the related agreements being expressions of true intent by the parties. The
     relevant contracts were signed and performed, ruling out any circ~imstances alleged by the 1st
     Respondent that the Gaimant maliciously colluded with the 2"d Respondent without their knowledge;

             evidence 3, the Usufruct Assignment Agreement executed by and beriveen the Claimant and
     L~~`V SPORTS CULTURE DEVELOP (HANG KONG} Co. Limited on .December i, 2016, which
     is intended to show the same contents as Evidence 2;

            evidence 4, the Voucher of Usufrl~ct exeet~ted by and between the 1 S` Respondent and LETV
     SPORTS CULTURE DEVELOP (HONG KONG) Co. Limited oE~ December 1, 2016, WIl1GI1 is
     intended io show tfie sane contents as Evidetice 2.




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            The Claima~~t expressed the following opinions oficross-examination of the evidence
    subrnitted by the 2"a Respondent:

           Evidence 1 ca~inot be recognized for its authenticity, and shall not be recognized for its
    purpose of proof; acid

           Evide~zce 2 to 4 shall be recognized for its authetlticity, and s11a11 not be recognized for its
    purpose of proof.

           The ls` Respondent expressed the following opinions of cross-examination of the evidence
    submitted by the 2"d Respondent;

           :Evidence l shall be recognized for its authenticity and purpose of proof; and

           Evidence 2 to 4 shall be recognized for its authenticity, and shall not be recognized for its
    purpose of proof.

           Tl~e 3`d Respondent expressed the fallowi~ig opinions of cross-examination of the evidence
    submitted by the 2"`~ Respondent:

           Evidence 1 shall be recog►iized for its autlienkicity and purpose of proof; and

           Evidence 2 to 4 shall be recognized fox its authenticity.

            The 3`d Respondent has not submitted his evidentiary materials to the arbitration tribunal.


                                 II. Qpinions oi'the Arbitration Tribunat

           In accordance with the valid evidence submitted by the parties to this Case a~zd by taking into
    consideration details of the tribunal hearing, the arbitration tribuclal row provides its opinions as
    follows:

            (1} Regarding the validity of tlie Loan Contract and tl~e Repurchase Guaraistee Agreement

             The ls` Respondent claims that the .Loan Contract and the Repurchase Guarantee Agreement
    fall under the circumstances of invalid of contracts specified in Article 52 'Item 2 ofthe Contract Law
    ojthe People's Republic of China, the official seal of the 1 S` 'Respondent was kept and used by tl~e 2°a
    Respo~~dent, ai d the affixing of the seal of 1 S' .Respondent to the t,oan Contract was not approved or
    consented to by the 1St Respondent, who had no knowledge of the e~ecutian of die Load Contract,
    i.e., the Claimant and the 2"d Respondent and 3`d Respondent maliciosisly colluded in breacl~ of the
    interests of the 1 S` ltcspot~dent, wliicfl shall render the .Loa~~ Coi~tracC and the Repurchase Guarantee
    Agreement invalid.



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           The arbitration tribunal has found klu•ough investigation that the oiT'icial seal of tl~e 1 S`
   Responde~it leas been affixed to both the Loan Contract ai}d the Repurchase Guarantee Agreement.
   None of the parties have raised any objections to the authenticity of this ofCciai seal. Article Q9 of
   the Contract Law provides that where the feasor enters into a contract in the name of the principal
   with no power of attorney, by going beyond its power of attorney or after termination of its power
   attorney, and tlTe counterparty has reasons to believe that the feasor did so with power of attorttey,
   such act ofagency shall be valid. Tlie arbitration tribunal believes that given tE~e !S` Respondent placed
   its official seal into the ~nana~ernent of tine 2°d Respondent and for their use, the Claimant may
   reasonably believe that the 1 Respondent has granted the 2°d Respondent power +of attorney; and eve»
   if the ls` Respondent does not recognize such granting of ppwer of attorney to tl~e 2"d Respondent,
   the 2"d Respondent, by affixing the official seal of the 1 51 Respondent to the 'Loan Contract and the
   Repurchase Guarantee Agreement, leas acted as apparent agent as defined under Article 49 of the
   Confracl Law, and such act shall be valid, The arbitratio~~ tribunal deems that no evidence in this
   Case shows malicious collusion between the Claimant and the 2"d Respondent in breach of the
   interests ofthe 1 S` Respondent, and [therefore] no circumstances of invalid contracts under Article S2
   of the Contract La►v have taken place. .C3oth the Loan Contract and the Rcpurcl}ase Guarantee
    Agreement are expressions of the true intents of the parties, which shall be valid.

           (l,t) Regarding whether or not the Claimant Ijas claims to the debts under the Loan Contract

           The I S' Respondent claims that in accordance with the provisions of tl~e Loan Contract,
    nobody but the network investor and the 1 S' Respondent are the parties to the debt-claim relationship
    under the Loan Cotifract; and the Claimant has not provided evidence that tltie network investor 1~as
    authorized then to act as their agent to make claims of rights to the borrower and the guarantor. The
    Claimant has no right to make debt claims to the Respondents based on the loan Contract

            The arbitration tribunal leas Found through investigation that the I.,oan Contract executed by
    and behveen the Claimant and tl7e 1s1 Respo~ident provides that the Claimant will act' on behalf of the
    specific users of Lan Cai Net to release a loan of too mare than 50 million yuan to the 151 Respondent,
    and tkie electronic transactio~~ records iii tl~e fund deposit system of the collaborafiing agency of Lan
    Cai Net shall prevail as to the actual a~~iount of the loan, initial amount of the loan, details of initial
    borrower atsd the start and end dates (Article 1 of the Loan Contract); the Claima~it shall act as tl~e
    went to release tiie loan in accordance with the provisions of the Loan Contract, manage debts in a
    centralized manner and communicate and liaise with the IS' Respondent in accordance with
    borrower's authorization, in tiie interest of tl~e borrower acid oil behalf of file borrower, but Party II
    is a party or the guarantor to the debt-claim relationship (Article 9 Paragraph l of the Loan Contract).
    The arbitration tribunal deems that the above terms of the Loan Contract i~~dicate that the Claimant
    has already fully disclosed Yo the 1 S` Respondent that the Claimant "releases the Eoan" and "manages
    debts in a centralized manner" on behalf of the specific users of Lan Cai Net. If we apply sema~itic
    interpretalion to the contractual terms, "mana[ging] debts in a centralized manner" is supposed to
    include taking legal measures to make debt claims to the borrower for recovery of the loafs in
    accordance with the law. The arbitration tribunal deems that the Claimai3t acting in their own name
    to release the loan and recover the loan on behalf of the specific users of Lan Cai Net confar~ns to the
    common mode of business in Internet finance. No evidence in this Case shows that the Claimant has


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    no right to release and recover the loan ol~ behalf of the specific users of Lan Cai Net, The arbitration
    kribunai deems that the 7 S` Respondent's allegation that tl~e Claimant has no right to excise rights as
    creditor based an tfie Loan Cantraet is g►•ousided on neither the la~v nor the contract, which will not
    be supported by tl~e arbitration tribunal.

            All three Respoi7dents claim that the Debt Assignment Agreement executed by and between
    the Claimant and Taa Yun Capital Group Co., Ltd. on July 14, 2017 leas already assigned the debts
    under the Loan Cont~•act and all of their subordinated rights and interests to Tao Yun Capital Group
    Co., Ltd. The Claimant shall, from the commencement of the Debt Assignment Agreement, no longer
    be a qualified party to this Case, having no right to make debt claims to the Respo~ldents under tiie
    Loan Contract.

             The arbitration tribunal has found through investigation that the Debt Assignment Agreement
    executed by and between the Claimant and Tao Y in Capital Group Co., Ltd. on July 14, 2017,
    submitted by the I S' Respo~}deist and the 2"d Respondent, provides that the Claimant will assign their
    creditor's rights under the Load Contract to Tao Yun Capital Group Co., Ltd., who has agreed to
    accept the same (Whereas clauses, Article f and Article 2 Paragraph 1 of the .Debt Assignment
    Agreey~ent); upon full payEnent of the consideration for the assignment by Tao Yun Capital Group
    Co., I.,td., the Claimant will ~~o longer be entitled to the subject debts and ail of their subordinated
    rights and interests, including but not limited to the right to receive interest based on the subject debts
    (Article 2 Paragraph 4 of the Debt Assignme►it Agreement). The arbitration tribana( specially notes
    the clear provisions in Article 2 Paragraph 6 of tl~e Debt Assignment Agreement that when the
    Claimant has agreed to assign the subject debts, the ClaiFnant shall make debt claims to fihe ls`
    Respondent as tl~e creditor on behalf of Tao Yun Capital Group Co., Ltd. Article 80 'Paragraph 1 of
    Contract Lpw provides that, "Where a creditor transfers his/her rights, he/she steal! notify tl~e debtor.
    to case of failure to give such notification, the transfer will not be effective to the debtor". The
    arbitration tribunal believes that ttie Deht Assignment Agreement executed by and between the
    Claimant and Tao Yun Capital Group Ca., Ltd, submitted by the 1 S` Respondent and 2"d Respondent
    is a photocopy, whose authenticity cannot be verified by the arbitration tribunal; assuming that the
    Debt Assignment Agreement was real, Claimant shall also have the ri~l~t to make claims to tha 3 S'
    Respondent in accorda~iee with the provisions of Article 2 Paragraph b of the Debt Assignment
     A green~ent; in ti~is Case, no evidence shows that the Claimant provided a notification of debt
     assignment to the 151 Respondent that tine 1$i Respondent steal! only service the debts to assignee Tao
     Yun Capital Group Co., Ltd., so this transfer• is i~ot effective to the 15` Respondent. The arbitration
     teibunat believes that the three Respondents' claim that the Claimant will Piave no claims to the debts
    under the Loan Contract from the commencement of tl~e Debt Assi~iment Agreement is based on
     neither the law nor the contract, which will not be supported by the arbitration tribunal

             From the foregoing analysis, the arbitration tribunal believes the Claimant shall have claims
     to the debts under the Loan Contract.

            (II1) .Regarding the repayment of the loa►~ principal




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           The Claimant requests that the 1 S~ Respondent repay to the Claimant the laaii principal of 50
    million yuan.

             The ls` Respondent claims that the loan funds of 50 million yuan under the Laan Contract
    have not yet been transferred by the Claimant to the account of the 1 S` Respondent, but instead to the
    bank account maintained by Beijing Duo Le Zhi .Hui Technology Co., Ltd. at Ping An Bank, and that
    the 1s1 Respondent leas never instructed the Claimant to transfer the loan to the account of Beijing
    Duo Le Zhi Hui Technology Co., Ltd. This release of the loan to the account of Beijing Duo [,e Zlii
    Hui Technology Co., Ltd. by the Clai►nant does aiot conform to the provisions of the 'Loan Coirtract
    oti tl~e prerequisites to release of the load.

            The arbitratio~i tribunal has found through investigation that Article 4 of the ~,oan Contract
    provides prerequisites to the release of the loan as follows: "Except far any waiver by Party B
    (Claimant, noted by the arbitration tribunal) in whole or in part, only if Aarty A (1S' Respondent, noted
    by the arbitration tribunal) continues to meet the following prerequisites will Party B be obliged to
    act as the agent to release the loan." The arbitration tribunal deems that in accordance with the above
    provisions, the loan will not be released until the 1 S' Respondent leas met the prerequisites for release
    of the loan. This is a 3~ight of the Claimant, and does not co~tstitute an obligation of the Claimant.

            The arbitration tribunal has found through investigation that an December 2, 2016, the
    Claimant transferred the fui;ds of SQ million yuan in 6 traizches to the account of.Beijing Duo Le Zhi
    Hui Technology Co,, Ltd. via the account of Beijing Lan Cai Information Technology Co,, Ltd. The
    arbitration tribunal foand that on December 2, 2016, the ls' Respondent and Beijing Duo Le Zhi Hui
    Technology Co., Ltd. jointly issued to the Claimant an Acknowledgement of Receipt of Aayment,
    con~nning receipt of the loan of SO million Yuan which the Claimant e►strusted to be paid from the
    account of Beijing Lan Cai Information Technology Co., Ltd.

           From the above facts found by the arbitration tribu~ial, the arbitration #rib~mal believes that
    the Claimant has already released the loan of 50 million yuan based on the provisions of tl~e Loan
    Contract.

            The arbitration tribunal has found through investigation that Article 2 of tl~e Loan Contract
    requires the term of the loan to be 12 months. Based on this requirement, tl~e loan will expire by
    December 2, 2017. The arbitration tribunal deems that in accordance with tiie provisions of the Loan
    Contract, upon expiration of the loan, the I S' Respo~~dent will be obliged to return tl~e loan principal
    to the Claimant with inte►-est payment,

          No evidence in this Case shows that upon expiration of the loan on December 2, 2017, the
    Respondents have returned any principal of the loan to the Claimant.

            The arbitration tribunal believes that the Claimant's request that the ls` IZesponderit repay to
     them loan principal of SO million yuan is in compliance with the provisions of the Loaij Co~~tract,
     which arbitration clain~ will be supported by the arbitration tribunal.



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          (IV) The arbitration claim regarding loan interest

             The Claimant requests payment from the ls' Respondent to the Claimant of interest of
    1,890,410.9b yuan ~metl~od of calculation: Sd million x 7.5% x 184/3b5, for a total of 184 days
    commencing from March 15, 2017 to September 1S, 2017, and itt fact such interest shall be accrued
    till the date offull payment by the Respondents}.

    -       The arbitration tribunal teas found through investigation tlyat Article 3 of the Loan Contract
    provides for the annual interest rate ofloan shall be 7.5%,daily interest rate =annual interest rate/365,
    and the i~3terest payment dates shall be March 1 S, September i 5, December 15 and the date of
    repayment of the. principal by the 1 S` Respondent. If the 1 S` Respondent fails to repay the loan when
    due, t(le creditor shall have tl7e right to charge penalty interest at the daily rate of S tet~-thousandths,
    until such default or circumstance has ceased to take place.

            During the tribunal hearing, the Claimant confirmed tl~at prior to March 15, 2017, the ls`
    Respondent had already paid the due interest, and since Marcie l5,2Q17,tl}e ls' Respondent has aiever
    paid interest to the Claima~it. No evidence in this Case shows that tfie .Respondents have paid interest
    to the Claimant since March I5, 2017.

            'TI}e arbitration tribunal believes that the Claimant's arbitration claim regarding interest
    conforms to the provisions of the Loan Contract, which will be sup~oified by t13e arbitration tribunal,
    that means the.]S' Respondent shall day loan interest to the Claimant, based on the 50 million yuan at
    the annual interest rate of 7.5%commencing from March 15, 2017 to the date offull payment of both
    principal ictterest, which is tentatively set as September 15, 2017, as of which the interest payment
    ~vi(I be 1,890,410.96 yuan (50 million x 7.5% s 1841365}.

           (V)The arbitration claim reglyding penalty interest

             The Claimant requests payment by the 15'Respondent of penalty interest of 5.65 million yuail
    (method of calculation: 500,000,000 x 0.05% x 226, for a period of tentatively 22G days in total
     cornrt~encing from March 15, 2017 to October 27, 20l 7, a»d in fact such i~~terest shall be accrued till
     the date of full payment by the Respondents).

            The arbitration tribunal has found through investigation that the Loan Contract executed by
     and between the Claimant at~d the 1 S' Respondent requires the term of the loan to be 12 months
    (Article ofthe Loan Contract); and if the 35~ Respondent fails to repay the loan when due, the creditor
    shall have the right to charge pei3alty interest at the daily rate of 5ten-thousandths, until such cieFault
     ar circumstance has ceased to take place (Article 3 of the Loan Contract}.

             T1~e arbitration tribunal has found through investigation that oi~ December 2, 2416, the
     Claimatlt released the loan ofSO million yuari in accordance with the provisions ofthe Loan ContracC.
     Article 2 of the Loan Contract provides that the term of the loan shall be ]2 months. Based o~i t1~is
     provision, the loan wi19 expire on December 2, 20l 7.



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            No sufficient evidence in this Case shows that the Claimant served on the 1 S' Respondent
    notification of early recovery of the loan, and no sufficient evidence in this Case shows that the
    Claimant has the right to early recover the loan. The arbitration tribunal deems that in accordance
    with the above arovisions of the Loan Contract, after expiration of the loan on December 2, 2017,
    overdue repayment of the loan by the I S` Respondent wiEl be constituted only if they fail to repay the
    loan principal and interest on tine, and only in that case will ti;e Gaii77ant have the right to charge
    petjalty interest.

               Regarding the standard of penalty interest, the 2"a Respondent and the 3`d Respondent claim
    that tl~e Claimant and the I st Respondent agreed to the daily rate of penalty interest as 5 ten-
    tElousandths in the Loan Contract, which can be converted to an annul rate of 18.25%, which is in
    violation of the mandatory requirements of the People's Bank of China and shall be invalid. Article
    3 ofthe Notification ofthe People 's Bank ofChina regarding the Issues related to RMB Loan Interest
   (Yin Fa [2003] No. 251) clearly provides that; "Penalty interest on any overdue loans (loans where
    the borrower fails to make repayment by the date specified in the contract) will be changed from the
    current daily rate of 2,1ten-thousandths to 30%-50% in.addition to the loan interest rate indicated in
    the loan contracts". In accordance with the above provisions, penalty interest may only be an
    additional 30%-50% to the loan interest rate, which, as agreed to by and between the Claimant and
    tl~e 1 S' Respondent, is 7.5% p.a., which, along with the additional 30%-50%,steal l be 9.75% - 11.25%.
    The penalty interest rate agreed to by and between the Claimant and the ls` Respondent is unfair to
                                                                                                    3Ta
    the Respondents, and arbitration tribunal was requested to lower it. The 2"~ Respondent and the
    Respondent further claim that interest and penalty interest are two different legal co~icepts. The
    Claimant's request that the Respondents shall pay both interest and penalty interest from March 15,
    2017 is based on neither facts nor the law.

             Article 207 ofthe Contract Lativ provides that,"In case ofany failure ofthe borrower to repay
     the loan by the deadline agreed to, overdue payment interest shall apply in accordance with the
     contract or the relevant regulations of the state." The arbitration tribunal deems that in accordance
     with the provisions of the Contract Law, the borrower and the lender shall have the right to agree to
     penalty interest on overdue payment; the Notification ofthe People's Bank of China regarding the
     Issues related to RMB Loan Interest(Yin Fa [2003] No, 251)does not prohibit the borroever and the
     lender from agreeing separately to a penalty interest rate either.

            Article 29 of the Regulations of the Supreme People's Court regarding the Several Issues in
     the Application of the Law to the Hearing of Private sending Cases provides that, "where the
     borrower and the le~ider have agreed to an overdue interest rate, such agreement shall prevail;
     however, suc1~ rate shall not exceed 24%over the annual rate"; Article 30 provides that,"where the
     borra~ver and the lender have agreed to an overdue interest rate as well as default one or other
     payments, the borrower may choose to claim any one or all of such overdue interest, default fine and
     other payments, but any excess over 24% of tk~e annual rate will not be supported by the people's
     court." By referring to the provisions in the above judicial interpretation of the Supreme People's
     Court, the arbitration tribunal deems that once the loan has become overdue, the borrower shall have
     the right to claim altogether the interest and the additional interest, but in an amou«t not exceeding
     2G% of the annual interest rate, The annual interest rate on the loan in this Case is 7.5%, and the

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    penalty interest charged iil addition on overdue payment aggregates up to a~i anizual rate of 18,25%,
    based on the daily of Sten-thousandths. The two combined have already gang beyond the annual
    interest rate of 24%, The arbitration tribunal believes that this penalty interest rate shall be lowered
    to the annual rate of 1 b.5%.

           From the foregoing opinions of the arbitration tribunal, the C~aimatit's request that the ls`
    Respondent should pay to them penalty interest is supported by the arbitration tribunal, and sucl~
    penalty interest shall accrue on the base of 50 million yuan at the annual interest rate of 16.5%
    commencing from December 2, 20i 7 (exclusive) till the date of full payment of both the principal
    and interest,

           {VI).Regarding the expenses for realization oFthe debt claims

            The Claimant requests that they shall be paid by the 1 S` Responde►~t the expe~ises for realizing
    the debt claims, in amount of 507,028 yuan, including the premium of 52,02$ yuan payable to the
    preservation and insurance provider, cost of preservation of 5,000 yuan payable to the court, and legal
    fees of 450,000 yuan

            The arbitratios~ tribunal has found through investigation that Article 14 ,Paragraph (I) of the
    Loan Contract provides that all expenses actually incurred by the Claimant for realization of tl~e debt
    claims (including but not limited io litigation fees, arbitrat'son fees, property preservation fees, travel
    expenses, enforcement fees, assessment fees, auction fees, notary fees, service fees, publication fees,
    legal fees, if any) shall be assumed by the 1" Respande~zt. The arbitration tribunal deems that the
    above provisions are expressions of true intents of the Claimant and the Responde~rts, without
    violation of'the mandatory requirements of legal and administrative ~~e~ulations, and slta3l be valid by
    the law. The arbitration t►-ibunal leas found through investigation that for realization ofthe debt claims,
    the Claimant paid property preservation fees of 5,000 yuan, property preservation liability insurance
    premiums of 52,02$ yuati and legal fees of 450,000 ytian, amounting to 507,028 yuan.

            The Respondents claim that the expenses requested in the Claima~~t's arbitration claim for
    ~eali~ation ofciebt claims are unjustifiable burdens to tl~e Respondents, and they shall be not assumed
    by Respondents. The arbitration tribunal deems that the Clairnai~t paid the fees for realizatio~i of tl~e
    debt claims as a result of the Respondents, who have no contractual or legal basis to deny liability foj•
    these fees, and the arbitration tribunal will not support this claim.

            ?he arbitration tribunal deems that the Claimant's arbitration claim regarding the expenses
    for re~iization of the debt claims conforms to the above provisions of the Loan Contract, which will
    be supported by the arbitration tribm~aE. The 1St Respondent si~all pay to the Claimant expenses of
    507,028 yuan for realization of the debt claims.

            (VII) Regarding the arbitration claim that the 2°d Respondent and the 3rd Responde~~t s1~a11 be
     severally and joi~~tly liable for repayment of the debts of the 1 S' Respondent.




                                                      18     ['seal:] Beijing Arbitration Commission Cross-page Seal
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            The arbitration tribunal has found through investigation that the Claimant aid the three
    Respondents agreed to in the executed Repurchase Guarantee Agreement Yhat: tt~e 2"d Respondent
    agrees and undertakes to assume irrevocable several and joint liability of guarantee and obligation of
    repurci~ase of the loan between the 1 S` Respondent and the Claii~lant; tl~e 3`d Respondent agrees and
    undertakes to assume personal, unlimited, several and joint liability for the above obligation of the
    2"d Respondent(Whereas Clause 2 of the Repurchase Guarantee Agreerne3it); provided that tf~e 2nd
    Respondent and the 3rd Responde►it agree and undertake to provide repurchase acid guarantee for the
    ls' Respondent, the Claimant agrees to provide liquid loans to the 15f Responde~~t (Whereas Clause 3
    of the :Repurchase Guarantee Agreement); to ensure that the I S` Respondent repays tlic loan to the
    Claimant in accordance with the provisions of tl3e Loan Co~~tract executed by and betwee~~ the
    Claimant and the 151 Respondent, the 2°a Respandei~t and the 3`d Respondent agree to provide
    irrevocable guarantee for tl~e Claima~~t witk3 several and joint liability in respect of the obligations of
    the ls` Respondent wider the Loan Contract (including but not limited to nor/-perfor~t~ance by the ls`
    Respondent or failure of their performance to conform to the provisions of the Loan Contract)
    (Whereas Gause 4 of the Repurchase Guarantee Agreement).

            The arbitration tribunal has found througl3 investigation that the Repurchase Guarantee
    Agreement has clearly specified the manner of guarantee, and the 2"d Respondent acid the 3`a
    Respondent shall p~~ovide guarantee with several and joint liability. When the t $` Respondent has not
    perforrtied or has not fully performed their debts under the loan Contract, the Claimant leas the right
    to directly request the 2"d Respondent and the 3i`~ Respondent to asswne the liabi)ity of providing
    guarantee (Article 2 Paragraph 7 of the Repurchase Guarantee Agreement).

             The arbitration tribunal has found through investigation that fhe Repurchase Guarantee
                                                                                                               3ra
    Agreement has clearly specified the scope of guarantee, where the 2°d Respondent and tl~e
    Respondent shall provide guarantee to the lS` Respondent to the extent that the latter does not perform
    their obligations in accordance with the provisions of the Loan Contract causing loss to the Claimant,
    includi►ig: failure of the 15t Respondent to pay tf~e principal, interest, penalty interest, insurance
    pretniurn, bond, compensatioci as well as oti~er amounts .payable by the 1 S` Responde~it on time and
    in full in accordance with the Loan Contract; and all the expenses paid by the Claimant for realization
    of the above rights a►id interests, including but not limited to legal fees, litigation fees, travel expenses,
    etc. (Article 2 Paragraph 3 of the Repurchase Guarantee Agreement).

              The 2"d Respondent and the 3~d Respondent claim that the conditions for the Respondents io
      be held liable for the guarantee I~ave not yet been met, and fihe Claimant I}as no right to request the
     .Respondents be held liable for the guarantee. The arbitration tributzal deems that in accordn~ice with
      the above provisions of the Repurchase Guarantee Agreement, once the Loan Contract expires and
      the 1$' Respondents has failed to perform their debts under the Loan Contract, the conditions for the
      2°d Respondent and the 3rd Respondent to be held liable for providing guarantee have been met;
      therefore, the above claim by the 2nd Respondent and tl7e 3r`~ Respondent in defense has too contractual
      or legal basis, which will not be supported by the arbitration tribunal.

             The 3`d Respondent also claims that the provisions in the Repurchase Guarantee Agreement
     that hold the 3`d Respondent personally responsible for the unlimited, several and joint liability for


                                                       19      ~;seal:;~ Beijing Arbitration Commission Cross-page Scal
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    tlje 2"d Respondent's repurchase obligation were made by lifting the limitation on corporate liabilities
    in standard terms to the effect thatthe legal representative will personally assume unlimited liabilities.
    These provisions shall be invalid. The 3`d Respondent shall not be responsible far providing guarantee
    to the Claimant. The arbitration tribunal deems tl~at 2"d Respondent and the 3`d Respondent are
    independent civil subjects, and it is the 3rd Respondent's expression flf true intent to assume several
    and joint liability for the repurchase obligation ofthe 2"d Respondent, which is not in violation of the
    mandatory requirements of legal and administrative regulations, and is legal and valid; in addition,
    from the above provisio~is ofthe Repurcl~ase Guara~lt~ee Agreement, it is tl~e 3rd Respondent's express
    oftrue intent to be held severally and jointly liable for tl~e debts of the 15i Respondent under the Loan
    Contract, which is not in violation of the mandatory requirements of lega} and administrative
    regulations, and is legal and valid; and the 3 Respondent's claim that the relevant terms.provided in
    the Repurchase Guarantee Agreement are inva{id standard terms, without factual and legal basis. Tire
    arbitration tribunal deems that the above claim by the 3`a Respondent in defense leas no contractual
    or legal basis, w}iich will not be suppo~~ted by tl~e arbitration tribunal,

            The Claimant request that that 2°d Respo~~des7t at7d the 3Td'Respondent be severally and jointly
    liable for repayment of the above debts of tl~e 1 S' Respondent. The arbitration tribunal deems that this
    request is in compliane~ with the provisions of tlse Repurchase Guarantee Agreement, the relevant
    provisions of the Surety Law regarding guarantee with several and joint liability, and will be
    supported by the arbitration tribunal.

           (VIII) Regarding assumption of arbitration costs

            The Claimant requests that the Responde»ts assume the arbitration costs far this Case. In
    accordance with the provisions of A►-ticle 5l Paragraph (11) of the Arbitration Rules and by taking
    into account the actual details of this Case, tl~e arbitration tribunal believes that the arbitration costs
    for this Case s17all all be assumed by the Respoildei~ts.



                                                    lIi. Award

           In accordance with the above facts and reasons, the arbitration tribunal has rendered the below
     award on this Case:

             (1} the ls` Respondent shall repay pri~lcipal of the loan of SQ miklion yuan to the C1aiEnant;

            (1[) the ]S`, .Respo~~dent shall pay interest on the loan to the Claimant, which interest shall
     accrue on the base of 50 million yua~~ at the annual interest rate of 7,5%commencing from March
     15, 2017 {exclusive) till the date of full payment of the loan and interest, which is tentatively
     September 15, 2017, amounting to 1,890,4(0.96 yuan;

            (]II) the 1S` Respondent shall pay penalty interest to the Claimant, which shall accn~e on the
     base of 50 million yuan at the annual interest rate of lb.5% commencing from becember 2, 2017
     (exclusive) till the aforementioned date oFfull payment of principal and interest;


                                                      20      [seal: BeEjing Arbitration Commission Cross-page Seal
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           (IV) the 1" Respondent shall pay to the Claimant expenses of 507,028 yuan paid for the
    realization of the debt claims;

          {V} the 2"d Respondent and the 3`d Responde~It shall be severally and jointly liable for
    repayment of tl~e debts of the 1st Respaident under the above Items (I), (I[}, {tII) and (IV} in this
    Award;

            (VI) the arbitration costs of 319,740 yuan for this Case (which have been prepaid iri ful! by
    tl~e Claimant} shall entirely be assumed by the :Respondents, who shall directly pay to the Claimant
    the arbitration costs of 319,740 Yuan disbursed by the Gaimant.

           The above amounts payable by the Respondents to the Claimant shall be paid in full within
    10 days from tfie date of service of this Award. Overdue performance will, in accordance with the
    provisions of Article 2S3 of tl~e Civil Arocedure Law of the People's Republic of China, render in
    double payment of the interest on the debts for the period of delayed performance.




           This Award shall be final and effective as of the date of issue.


   [seal:) Arbitration Commission of Beijing 1100000039785


                                                            Chief Arbitrator (signature}:   [signature]

                                                            A~•bitrator (signature):        [signature]

                                                            Arbitrator {signature):         [signature]

                                                            J anuary 22,201$ in Beijing




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Case 2:19-bk-24804-VZ   Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11   Desc
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        Exhibit 5 -Final California.
                 Judg~rnent
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             C          2:18-cv-10255-SJO-MRW Document 35 Filed 04/07/19 Page 1 of 3 Page ID #:



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       Amanda alker {SBN 25~3~4)
     3 awalk~r~a wscll com                                                          FILEll
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       Los Angeles, California 900 X 3                                    Ap~•il 7, 2019
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    10           Telephone:(415} 582-4$00
    11           (Additian~l Counsel on next page}
    ]2           Attorneysfor Petitioner
                 Shanghai Lan Cai Asset
     t3          Managerraent Co, ~,td.
     14
                                         L7NITED STATES DISTRICT COURT
     15
                                       CENTRAL la1STRICT OF CALIFORNIA
     l6
                                                    WESTERN DIVISION
     17

     18          `SHANGHAI LAN CAI ASSET                    Case No. 2:18-cv~10255-SJ4-MRW
                  M.A.NAGEMENT CO,LTD.,
     l9
                                                            FINAL JUDGMENT
     20                               Petitioner,
                                                            Han. S. James Qtera
     21
                 1 v.
     22

     23
                 ~ JIA YUETING,

     24                                Respondent.
     25

     26

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                                               [PROPOSED]FINAL IUDGMENT
Case 2:19-bk-24804-VZ       Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11    Desc
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     {~~se 2:18-cv-10255-SJO-MRW Document 35 filed 04!07/19 Page 2 of 3 Page ID #:



2      Christopher Cogburn {admitted pro hac vice)
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g      Central, Hong Kong SAR
       Telephone: +852 2127 3291
 9     Attorneysfor Petitio~rer
rp     Shanghai Lan Cai Asset
       Management Ca, Ltd.
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Case 2:19-bk-24804-VZ        Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11            Desc
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     ;use 2;18-cv-10255-SJO-MRW Document 35 Filed 04/07/19 Page 3 of 3 Page ID #;



            Upon the Court's consideration of Petitioner Shanghai Lan Cai Asset
r.    Marra ement Co Ltd.'s Petition to Co~ifirm A€~bitration Award (Dkt. No. I ),
3     ?'etiti~~Pt''s Memora~dt2m in C„pp~,-~ (17kt: N~►: 1_-1); 1_~Ps~or~~~nt Jig Yz~~ting's
4     Memorandum in Opposition (Dkt. No. 25}, Petitioner's Reply Memorandum (Dkt.
5     No. 29), and all supporting documents submitted together with these documents,
6           IT IS HEREBY CJRDERED, ADJUDICATED, AND DECREED, for the
7     reasons set forth in this Court's Order Granting Petition to Confirm Arbitration
8     Award (Dkt. No. 31} dated March 26, 2419, that judgment is entered against
9     Respondent Jia Yueting and in favor of Petitioner Shanghai Lan Cai Asset
l0    Management Co, Ltd., in the amount of RMB 83,337,72b.91, inclusive of pre- and
I1    post-award interest as of April 1, 2019, in the amount of RMB 32,510,958.91, plus
12    post judgment interest to run on the above amounts as provided by 28 U.S.C. § 1961.
13

14
      DATED: April '~, 2019.                          ~,         ~►-~.      ~~~~,~
15

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                                                    United States District Judge
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     Case 2:19-bk-24804-VZ   Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11   Desc
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                Exhibit d — Civ11 l~Iir~utes
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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                              C1V.IL 14~INIJ'~'E5 -GENERAL
       Case No.       CV 1$-102SS SJ~(MRWx)                                                 Date   April 10, 2019

       T'itke         Shanghai Lan Cai Asset Management Co, Ltd. v, Jia Yueting




       Present: The                 S. James Qtero, Judge presiding
       Honorable
                     Victor Cruz                               Not Present
                     Deputy Clerk                             Court Reporter                              Tape No.
                  Attorneys Present for Plaintiffs;                      Attorneys Present for Defendants:
                             Not Present                                                   Not Present

       Proceedings:              IN CHAMBERS

      The judgment entered by this Court, ECF No. 35, provided the final judgment in Chinese currency,
      RMIl, ~'or purposes of entering this judgment, the Court holds that the currency exchange rate
      applicable to the RMB amounts will be the exchange rate published by the lJnited States
      Department of Treasury on March 31, 2019, the most recent date available. On this date, the US
      Treasury Department exchange rate was ] USD to 6.7130 RMB. The judgment amount of
      83,337,72'6.91 RMB is equivalent to 12,4]x,379.10 USD. The judgment amount of 32,510,958.91
      RMB is equivalent to 4,842,9$5.09 USD.




                                                                    Initials of Preparer                   vpc




      CV-90(06/R4)                                 C1Vlt, MINUTES -GENERAL                                          Page 1 of 1
        Case 2:19-bk-24804-VZ   Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11   Desc
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                          Exhibit 7 -- Writ of
                              Execution
      Case 2:19-bk-24804-VZ              Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11                         Desc
                                         Main Document   Page 114 of 130
                Stevens5~~s`~s~1~~~12~DOCumerlt 5~                    Filed 07/24/19 Page 1 of 3 Page ID #:649
'    Bet~any~~8
     bstevens@wscl.lp.com
     walker Stevens Cannam LLP
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     Tel: 21377.2.9145;
     Fax: 213.403..4906


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIF012NIA
                                                                     CASE NUMB£R:
     Shanghai Lan Cai Asset Management Co,
     Ltd.                                                                 CV-2:18-10255-SJO-MRW
                                                       Plaintiffs)
                             v,
    ,7ia Yueting
                                                                                    WRIT OF EXECUTIQN

                                                    Defendants)


        TO:        THE UNITED STATES MARSHAL FOR THE CENTRAL DISTRICT OT CALIFORNIA
                   You are directed to enforce the Judgment described below with interest and costs as provided by law.


                   On Apzil ?, 2019                    a judgment was entered in the above-entitled action in favor of.

                   S hanghai Lan Caz Asset Management Co, Ltd.




                   as Judgment Creditor and against;
                   ,7ia Yueting




                   as Judgment Debtor, for:
                       ~      7,571,394.dl principal,
                       $                  0.~ a Attorney Fees,
                       $          4,842,985.091nterest'~*,and
                       $                 fl.a 0 Costs, making a total amount of
                       $      12,~i~,379.is ,~DGMENT AS ENTERED




    **NOTE: JUBGMENTS REGISTERED UNDER 2$ U.S.C.§1963 BEAR TIDE RATS OF INTEREST OF TIDE
            DISTRICT OF ORIGIN AND CALCULATED AS OF THE DATE OF ENTRY IN TI3AT DISTRICT.

                                                        VI'121T OF F,XECU7'ION
    CV-23 (6107)                                                                                                   PAGE i Of 3
 Case 2:19-bk-24804-VZ               Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11                          Desc
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   WHEREAS, according to an affidavit andlor memorandum of costs after judgment it appears that further sums
   have accrued since the entry ofjudgment in the central          District of California                  ,
   to wit:

               ~           147,715.14 accrued interest, and
               ~                0.00 accrued costs, making a total of
               ~           197,715.14 ACCRUED COSTS AND ACCRUED INTEREST


   Credit must be given for payments and partial satisfaction in the amount of$ fl • 4fl                     which is
   to be credited against the total accrued costs and accrued interest, with any excess credited against the judgment
   as entered, leaving a Diet balance of:

               ~      12,562,094.24 ACTUALLY DUE on the date of the issuance of this writ of which
               $      12,414,379.10 is due on the judgment as entered and bears interest at 2.41
                                    percent per annum, in the amount of $ 8 2 3.57               per day,
                      '             from the date of issuance of this writ, to which must be added the
                                    commissions and costs of the officer executing this writ.




                                                                CLERK, UNITED STAT.BS D:lSTRICT COURT
                                                                                                        yla~~s
                                                                                                       o       o~yrq~~r
                                                                                                                      n
                                                                                                           ~.~            A

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    .Dated:        J ULY 24, 2019                               $y~                                  ~~+  . . +~~¢~
                                                                                                      cos~«r a~ ~~~`
                                                                                     T)eputy Clerk




                                                  NR1T OF F.XF,CCi7'ION
CV-23 (b/01)                                                                                                      PAGE 2 OF 3
 Case 2:19-bk-24804-VZ             Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11                         Desc
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   The following are name{s)and addresses)ofthe judgment debtors} to whom a copy ofthe Writ ofExecution
   must be mailed unless it was served at the time of the levy. This inforr~~ation must be (riled in by counsel
   requesting this writ.


   Dani.e•7. Scott Schecter
        Latham and Watkins LLP
                                                      ~      Michael A].an Hale
                                                              R Peter burning, Jr
                                                                                                                ~

        10250 Constellation Blvd Ste 1100                     Latham and Watkins LLP
        Los Angeles, CA 90Q67                                 355 S Grand Ave Suite 100
                                                              Los Angeles, CA 90071-1560
        Attorneys for 3ia Yue~ing
                                                       ~     LAttorneys for Jia Xueting                          J

                                                       ~     ~~                                                  ~




   L                                                   J     L                                                   J
                                                       ~     ~                                                   ~




    L                                                  J     L                                                   J

    f                                                  ~     ~                                                   ~




    L                                                  J     L                                                   J
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    L                                                  J     L                                                   ._...1

    NUTICE TO THE JUDGMENT pE~iTOR
    You may be entitled to ale a c3aim exempting your property from execution. You may seek the advice of an
    attorney oc may, within ten (10} days after the date the notice of levy was served, deliver a claim of exemption
    to the levying officer as provided in Sections 703.510 - 703.610 of the California Cade of Civil Procedure.

                                                 ~1'ItIT OF ~;XECUT14n
CV-23 (6/01)                                                                                                  PAGE 3 OF 3
Case 2:19-bk-24804-VZ   Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11   Desc
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       Exhibit 8 — tJrder ~o.A~pear..
           for E~aminat~on o~
            Judgment Debtor
   Case 2:19-bk-24804-VZ                  Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11                              Desc
                                          Main Document   Page 118 of 130
                                            oineyQsgcument 6                    Flled 08/21/x.9 P~g~' 10f 2 P~g~ ID #:723
NameA~c~~res's~~oc~~ho~neT~''uir7~er~o~r ~t
Bethany Stevens(SBN 245672)
Walker Stevens Cannom LLP, Tel: 213.772.9145
500 Molino Street #11$, Los Angeles, CA 90013

                                            ~C1I~1g'~'EI~ S'~'AT~S D~S'Y'~I~'Y' Cf)U~'i'
                                           CENTRAL DISTRICT Off' CALIFQRNIA
Shanghai Lan Cai Asset Management Co, Ltd.                                                    CASE NUMBER
                                                                                          2:18-cv-10255-SJO-MRWx
                                                            Plaintiff~"s}
                                                                                     ORDER TO Ai'PEAR ~QR E!CAMINATIOiV
                                  V.                                            Oi~ X JUDG141ENT DEBTOR or a THIRD PERSON RE:
 Jia Yueti~~g
                                                                                        X ENFQRCEMENT OF JUDGl19ENT
 nefendaiit(s)                                                                            ❑ ATTACHMENT{Third Person)

The Court, having considered the Application for Appearance and Examination Re: Enfo~•cement of
JudgmendAttach~nent, hereby ORDERS the ApplicaCion.be ~ GRANTED ❑DENIED.

TO:              Jia Yuetin~
                    ( Nome ofPerson Ordered to.4ppea~)                      .

YOU ARE ORDERED TO APPEAR persnnaily before the Honorable Michael R. Wilner                              , to:
     X      furnish information to aid i~~ enforcement of a money judgment against you ANR TO
     PRODUCE AT THE TIME Of EXAMINATION THE DOCl/MEN7S LISTED ON ATTACHED EXHIBIT A.
     o      answer concerning property of the judgmelyl debtor in your possession or eontral or concerning a
     debt you owe the judgment debtor.
     o      answer concerning property of the defendant in your possession or control concerning a debt you
     owe the defendant that is subject to attachment.
     ❑      furnish information to aid in enforcement of a n}oney judgment against thejudgment debtor.
     ❑      fur~ush information to aid in ent'orcement of a right to attach order against the defendant.

 Date of appearance: September 11, 2019 Courrtroom: 550                                 Time:        4:00 a.m. :-ter:

 Location of A~pear~nce: ~a First Street Courthouse, 350 West I S' Street, Los Angeles, CA
 X .Roybal Courthouse, 25S E, Teanple Street, Los As7geles, CA
 ❑ Santa Aita Courthouse, 41l W. Fourth Street, Santa Ana, CA
 n Riverside Courthouse, 3470 Twelfth Street, Riverside, CA

This Order may be served by a Marshal, sheriff, registered process server, ar the following, specially appointed
person:
           (Name ofAppointed Process Serve)

Date:     August 21, 2019                                                                       ~~
                                                                                       Michael R, Wisner, U.S. Magistrate Judge

                    APPEARANCE OF JUDGMENT DE~3TE)12(ENFORCEMENT OF JUDGMENT)

 N4TIC:E TO JUDGMENT DEBTOR: if you fail to appear at tl~e time and place specified in this order, you may
 be subject to arrest and punishment for contempt of court and the court may make an order requiring you to pay
 the reasonable attorney fees incurred by the judgment creditor in this proceeding,


                                       QRDEK O\~ APPLI(;AT10\ FOR A1'PEAIiAI~CE An'D f;J1AM1~rA"170N
CV-4i' ORDi:it (05!18)                                        Page d oF2
                            (Gnfarcement of JudgmendAttachment)
   Case 2:19-bk-24804-VZ               Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11                Desc
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      Case 2:18-cv-10255-SJ~-MRW Document 63 Filed 08/21!19 Page 2 of 2 Page ID #:724
                             APPEARANCE 4F A THIRD PERSC?N
                .ENFORCEMENT
                (            OF JUDGMENT -CALIFORNIA C.C.P. SECTION 708.120)

(1} NOTICE TO PERSON SERVED: If you fail to appear at the time and place specified in this order, you may
 be subject to arrest and punishment for contempt of court and the court may snake an'order requiring you to pay
 the reasonable attorney fees incurred by the judgment creditor in this proceeding.

(2) N47'ICE Tp JUDGMENT DEBTOR: The person in whose favor the judgment was entered in this action!
 claims that the person to be examined pursuant to this order has ,possession or control of property which is yours
 or owes you a debt. This propej-ty or debt is as follows (Clearly describe the prnj~erty or debt. Print or type the
 descri~~tion. Ise an additional sheet ofpaper~, if necessary.):




  IY you claim that all or any portion of this property or debt is exempt from enforcement of the money judgment,
, you MUST file your exemption claim in wt•iting with the court and have a copy personally served an the
 judgment creditor not later than three(3)days before the date set for the examination.

 You MUST appear at the time and place set for the examination to establish your claim of exemption or your
 exemption may be waived.



   APPEARANCE OF A'THIRD PERSQI~1(ATTACHMENT - CALIFQRNXA C.C.P. SECT101V 491.110)

 NOTICE TO PERSON SERVED: if you fail to appear at the time and place specified in this order, you may be
 subject to arrest and punishment for contempt of co~irt and the court may make an order requiring you to pay the
 reasonable attorney fees incurred by the plaintiff'in this proceeding.

                             APPEARANCE OF A CORPORATION,PARTI~IERSHIP,
                             ASSOCIATION,TRUST,OR OTHER QRGANIZATIQN

 It is your duty to designate one or mare of the folEowing to appear and be examined. officers, directors,
 managing agents, or other persons who are familiar with your property and debts.




                                  ORDER ON APPLICA'1'IQN FOR A3'NEAKANCIs ANA S:aAM]NATION
CV-4P ORt)T:R (OS/IR)   (Enforcement of JudgmenUAttachmcnt)   Page z ofl
Case 2:19-bk-24804-VZ   Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11   Desc
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        Exhibit 9 -Joint Stipulation
           to Continue Judgment
            Debtor Examination
Case 2:19-bk-24804-VZ   Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11         Desc
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     5   Telepl~ane: (2l3)430-6000
         Facsimile: (213)430-6407
     6
     7   At#arneys for Respondent Jia Yueting
     8
     9
    10
    11                       UNITED STATES DISTRICT COURT

    l2                     CENTRAL DISTRICT OF CALIFORNIA

    13
         ST-TANGHA~ LAN CAT ASSET               Case No.2:18-cv-10255-SJO(MRWx)
    14   MANAGEMENT CO., LTD.,
                                                JOII`IT ST~PXJLATIOIV TO
    15               Petitioner,                CONTINUE J'[JDG1i~IENT DEBTOR
    16                                          EXAMINATION OF RESPONDENT
               v.                               JXA YUETING
    17
         ~ JIA YUETTNG,                         Judge; Ikon. Michael R. Wilner
    18                                          Courtroom: 550
    19               Respondent.
                                                Current Examination Date: September
    20                                          11, 2019, at 9.0~ a.~n.
                                                Proposed Examination Dates: October
    21                                          17-1$, 2019, at x.00 a.m.
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                                                                   JOINT STIR. CONT3NUING
                                                                JUDGMENT DEBTOR EXAM.
                                                                  2:18-CV-]0255-SJ4(MRWx)
Case 2:19-bk-24804-VZ     Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11          Desc
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 Case a~18-cv-10255-SJO-MRW Document 81 Filed 09/04!19 Page 2 a# 4 Page ID #:799



     1          WHEREAS, on August 21, 2019, the Court entered an order directing
     2    Respondent Jia Yueting to appear for a judgment debtor examination on September
     3 , 1 1, 2019; at 9:00 a.m.;see Dkt. No. 63;
     4          WHEREAS, on August 26, 2019, Respondent's former counsel of record
     5 , filed a request to withdraw from representation, see Dkt. No. d9;
     6'         WHEREAS, on August 28, 2019, Judge Otero granted Respondent's former
     7 ~ counsel's request to withdraw,see Dkt. No. 70;
     8          WHEREAS, Respondent has retained undersigned counsel from O'Melveny
     9 ~ &Myers LLP far representation in this matter;
    10          WHEREAS, on September 3, 2019, undersigned counsel for Respondent
    11    entered their appearances in this matter, see Dkt. Nos. 77 & 78;
    12          WHEREAS, counsel for Petitioner Shanghai Lan Cai Asset Management
    13    Co., Ltd. and Respondent have conferred regarding Respondent's judgment debtor
    14    examination;
    15          WHEREAS, the paz-ties agreed, subject to the Count's approval, that a short
    16    continuance of the judgment debtor examination is appropriate io permit
    17    Respondent's counsel to familiarize themselves with the record and legal issues and
    18    adequately prepare Respondent far said examination;
    19          WHEREAS, the parties agreed, subject to the Court's approval, that
    zo    Respondent's judgment debtor examination nay be conducted over a period o#~ snot
    21    more than twelve (12} hours on the record;
    22          NC}W, THEREFORE, pursuant to Local Rule 7-1, IT IS HEREBY
    23    STIPULATED by and among the parties and through their counsel of record that:
    24          I.     The judgment debtor examination of Respondent, currently scheduled
    25    fox September 11, 2019, at 9:00 a.m., is continued to October i7 and 18, 2019, at
    2b    9:00 a.m., to take place at the Roybal Courthouse, 255 E. Temple Street, Los
    27    A~~geles, CA, the First Street Courthouse, 350 West 1st Street, Los Angeles, CA, or
    z$    another Xocation agreed by the parties in writing, whichever is able to host the
                                                                       JOINT STIP. CONTINUING
                                                    j                JUDGMENT DEBTOR EXAM.
                                                                      2:1$-CV-10255-SJO(MRWx)
Case 2:19-bk-24804-VZ    Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11        Desc
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     1   examination at that time.
    2          2.    The judgment debtor examination of Respondent shall not exceed
    3    twelve(12) hours on the record.
    4          3.    The judgment debtor agrees to accept service of the debtor's
     5 I examination order (Dkt. No. 63) and ax~y subsequent order entered on this
    6 ' Stipulation by ECF in lieu of service pursuant to CCP Section 70$.110 and Section
    7    X15.10.
     8         XT XS SQ STIPULAT`ED.
    9
    10
    11   Dated: September 4, 2019                  CARLOS M.LAZATIN
    12                                             WILLIAM K.PAQ
                                                   O'MELVENY & MYERS LLP
    13                                             By:    /s/ William K.Pao
    14                                                   William K.Pao
                                                   Attorneys for Respondent Jia Yueting
    15
    16
    I7
         Dated: September 4, 2019                  CHRISTOPHER Ct~GBURN
    ~8                                             JOHN HAN
                                                   KOBRE & KTM LLP
    19
                                                   BETHANY STEVENS
    Zo                                             AMANDA WALKER
    21                                             ~+IALKER STEVEIVS CAI~IN(JM LLP
                                                   By:    /s/ John Han
    22                                                     Jahn Han
    23                                             Attorneys for Petitioner Shanghai Lan
                                                   Cai Asset Management Co., Ltd.
    24
    25
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                                                                    JOINT STIP. CONTINUING
                                               2                 :IUDGMBNT DEBTOR EXAM.
                                                                   2:18-CV-10255-SJO(MRWx)
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     1                                          ATTESTATION
    2               I hereby attest that the oth~i•.signatory listed, on whose behalf this filing is
    3         submitted; concurs i11 the filing's content and has authorized the filing.
    4
             ~ Dated: September 4, 2019                   O'MELVENY & MYERS LLP
     5
                                                          By: /s/ William K.Pao
    6                                                         William K.Pao
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        EXI11~1t 1U -- t~rder                        ~-ranting_
        Joint Stipulation to Continue
                     Judgment Debtar
                           examination
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~~ Case a;18-cv-10255-SJO-MRW Document 82 Filed 09!04119 Page 1 of 2 Page ID #:804



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            t̀~ I~ELVENY ~i M~~R~ ~.,L~
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            Los Angeles, Califo~•nia 90071-2899
     5      Telephone: (213} 430-6000
            Facsi~ni(e: (213} 430-b407
     6
     7      Attorneys for• Respondent Jia Yueting
     8
     9
     10
     11 '                       UNITEA STATES DISTRACT COURT
        i
     12                       CENTRAL DISTRICT OF CAL~FO~tNIA

     I3
            S~IANGHAI LAN C~1I ASSET'               Case No. 2:l 8-cv-10255-SJO(MRWx)
     14     MANAGEMENT Cp.,LTD.,
                                                    [~'      ~   8]t~RI}~R GIf~AIe1TANG
     15                 Petitioner,                 .l(~Ile1T STIPULATIOle1 Tt~
     lb                                              CONTINUE JUDGMENT
                  v.                                 DEBTOR'S EXAMINATION OF
     17                                              RESPONDENT JYA YUETING
            JIA YUETING,
     l$                                             Jude: Hon. Michael R. Wilr~er
                        Respondent.                 Courtroom: S50
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     Zs                                                     [PROPOSED ORDER GRANTING JQINT
                                                                      STIP. ftE: DBQTOR BXA'M.
                                                                     2:18-CV-lOZSS-SJO {MRWx)
Case 2:19-bk-24804-VZ             Doc 414 Filed 03/03/20 Entered 03/03/20 18:26:11                         Desc
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      Case '" r1B-cv-x.0255-SJ4-MRW Document 82 Filed 09/04/19 Page 2 of 2 Page ID #:805


         1           This Matter came before the Court on Petitioner Shanghai Lan Cai Asset
         2 ~ Management Co., Ltd. and Respondent Jia Yueting's Joint Stipulation To Continue
         3    Judgx~er~t ~ebtpr Ex~t~ir~atiax~ of Respoaldet~t Jia Yuetin~. Having reviewed the
         4    stipulation, and far good cause shown,the Court hereby GRANTS the stipulation.
         5    The judgment debtor examination currently scheduled for Septell~ber 11, 2019, at
         6    9:00 a.m., see Dkt. No.63, is VACATED. Respondent is ORDERED to appear
         7 ~1 before this Court, at Courtroom 550 of the Royba] Courthouse, 255 E. Temple
         8 Street, Los Angeles, CA, ~';r.~~e~~~i ^.,~a, ~{n ~x~orr ,~~ c~..eo,-~ r ~c
         9               >                                                                         >
        10    ~~ ~,,.~+ +~,o o.,.,,,,;,,,,+;,,,, .,+ +~,o .,r,,,,;,,+o,~ +.f„o~ for a judgmec~t debtor examination o71

        Il    October 17 and 18, 2019, at 9:00 a.m. The judgment debtor examination shall not
        12    exceed twelve (12} hours an the record. Service of the debtor's examination order
        13 (Dkt. Na. 63)and this Order may be made by ECF in lieu of service pursuant to
        14    CCP Section 708.114 and Section 415.10.
        1S
        16 I I i7[' ~S SU OlaDEIaED.
        17                   DATED this 4th day of Septe~7~ber, 2419.
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        2l                                                     ~'he Hanoz•~bl~ Michael lt. Wilzaer
                                                                 United States Magistrate Judge
        22
                  1. Uizless they agree otherwise, the parties will meet with Judge Wilzier in the
        23
                      courtroom before the JD exam to discuss pf•acedures.
        24
                  2. The witness may be questioned in the courthouse attorney lounge or any
        25
                      other mutually acceptable location {counsel's office?}.
        26
                  3. Tlae Court thanks the attorneys for professionally working out the
        27
                      problematic scheduling and duration issues of the exam. MRW
        28
                                                                              [P.ROPOSED~ ORDER G'RANT'ING JgINT
                                                                1                         STIP,,RE: DEBTOR EXAM.
                                                                                         2:18—CV-10255•SJO(MRVVx)
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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): REQUEST FOR JUDICIAL NOTICE
 OF YUETING JIA IN SUPPORT OF DEBTOR’S OPPOSITION TO DISMISS DEBTOR’S CHAPTER 11 CASE BY
 CREDITOR SHANGHAI LAN CAI ASSET MANAGEMENT CO., LTD. will be served or was served (a) on the judge in
 chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 March 3, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date)                           , I served the following persons and/or entities at the last known addresses in this
 bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
 States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
 mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 3, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


  VIA PERSONAL DELIVERY
  United States Bankruptcy Court
  Central District of California
  Attn: Hon. Vincent Zurzolo
  Edward R. Roybal Federal Bldg./Courthouse
  255 East Temple Street, Suite 1360
  Los Angeles, CA 90012
                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 3, 2020                Sophia L. Lee                                                   /s/ Sophia L. Lee
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Emily Young pacerteam@gardencitygroup.com,
         rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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